     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 1 of 129 Page ID #:243



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11                           UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,                ED CR No. 20-00192-JGB

14              Plaintiff,                    UNITED STATES’ OBJECTIONS TO THE
                                              PRESENTENCE REPORT AND SENTENCING
15                    v.                      POSITION REGARDING DEFENDANT JOSUE
                                              GAMALIEL VIDAL QUINTANILLA;
16   JOSUE GAMALIEL VIDAL                     DECLARATION OF SONAH LEE; EXHIBITS
     QUINTANILLA,                             A-F
17
                Defendant.                    Sentencing Date: February 27, 2023
18                                            Sentencing Time: 2:00 P.M.
                                              Location:        Ctrm. of the Hon.
19                                                             Jesus G. Bernal

20

21         Plaintiff United States of America, by and through its counsel
22   of record, the United States Attorney for the Central District of
23   California and Assistant United States Attorney Sonah Lee, hereby
24   files its Objections to the Presentence Report and Sentencing
25   Position Regarding Defendant Josue Gamaliel Vidal Quintanilla.
26         The United States’ Objections and Sentencing Position is based
27   on the attached memorandum of points and authorities and the
28   accompanying declaration of Sonah Lee with attached Exhibits A-F, the
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 2 of 129 Page ID #:244



1    United States Probation and Pretrial Services Office’s Presentence

2    Report (“PSR”) and Recommendation Letter, the record of the

3    proceedings in this case, and any further evidence and argument that

4    the Court may permit.      The United States respectfully requests the

5    opportunity to supplement this Sentencing Position or to respond to

6    defendant or the Probation Office as may be come necessary.

7    Dated: February 13, 2023              Respectfully submitted,
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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 3 of 129 Page ID #:245



1                                   TABLE OF CONTENTS

2    I.    INTRODUCTION...................................................1

3    II.   STATEMENT OF FACTS.............................................2

4    III. GUIDELINES CALCULATIONS........................................4

5    IV.   ASSESSMENT OF THE SECTION 3553(a) FACTORS AND THE UNITED
           STATES’ SENTENCING POSITION....................................7
6
           A.    Nature and Circumstances of the Offense Are Egregious.....7
7
           B.    A Slight Downward Variance is Appropriate Considering
8                Defendant’s Personal History and Characteristics..........9

9          C.    Supervised Release.......................................10
10   V.    RESTITUTION...................................................11

11   VI.   CONCLUSION....................................................11

12

13

14

15

16

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26

27

28
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 4 of 129 Page ID #:246



1                                  TABLE OF AUTHORITIES

2    FEDERAL CASES                                                                   PAGE
3    Beckles v. United States,
4      137 S. Ct. 886 (2017)      .......................................... 6

5    United States v. Jordan,
       256 F.3d 922, 930 (9th Cir. 2001).        ............................. 5
6
     New York v. Ferber,
7
       458 U.S. 747 (1982)      ............................................ 8
8
     Paroline v. United States,
9      572 U.S. 434 (2014)      ............................................ 8
10   United States v. Williams,
11     553 U.S. 285 (2008)      ............................................ 8

12   United States v. Brika,
       487 F.3d 450 (6th Cir. 2007)       ................................... 6
13
     United States v. Buchan,
14
       2021 WL 4988020 (9th Cir. 2021)        ................................ 6
15
     United States v. Fisher,
16     502 F.3d 293 (3d Cir. 2007)       .................................... 6
17   United States v. Gonzalez,
18     492 F.3d 1031 (9th Cir. 2007)        .................................. 6
19   United States v. Jones,

20     531 F.3d 163 (2d Cir. 2008)       .................................... 6
     United States v. Leahy,
21
       473 F.3d 401 (1st Cir. 2007)       ................................... 6
22
     United States v. Lonich,
23
       23 F.4th 881 (9th Cir. 2022)       ................................... 6
24
     United States v. MacEwan,
25     445 F.3d 237 (3d Cir. 2006)       .................................... 8
26   United States v. Norris,
27     159 F.3d 926 (5th Cir. 1998)       ................................... 9

28
                                            ii
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 5 of 129 Page ID #:247



1    United States v. Reuter,

2      463 F.3d 792 (7th Cir. 2006)       ................................... 6

3

4    FEDERAL STATUTUES
5    18 U.S.C. § 2251 ............................................... 6, 8
     18 U.S.C. § 2252A ............................................. 7, 11
6
     18 U.S.C. § 2259 ................................................. 11
7    18 U.S.C. § 3553 .................................................. 11
8    18 U.S.C. § 3583 ................................................. 10
     18 U.S.C. § 3664 .................................................. 2
9
     18 U.S.C. § 3771 ................................................. 10
10
     OTHER
11
     USSG § 2G2.2 ...................................................... 4
12
     USSG §§ 3E1.1 ..................................................... 4
13   USSG § 5D1.2 ..................................................... 11
14   USSG § 5E1.1 ..................................................... 11

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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 6 of 129 Page ID #:248



1                          MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3         Defendant Josue Gamaliel Vidal Quintanilla (“defendant”) was a
4    middle school teacher whose actions betrayed the trust given to him
5    by every parent and the community-at-large to educate, protect, and
6    guide children--he downloaded, accessed, traded, received, and
7    distributed child pornography over the internet.           This conduct is
8    abhorrent in and of itself, but it is especially disturbing and
9    unacceptable considering defendant’s role in the community as a
10   teacher.    Further, defendant crossed yet another boundary--he
11   admitted that he live-streamed himself masturbating to minors online
12   and he would ask minors to do the same for him.          Defendant pled
13   guilty to distribution of child pornography under a written plea
14   agreement (Dkt. 21 1), and faces a mandatory minimum sentence of five
15   years, although his sentence should be much higher.
16         On March 18, 2022, the United States Probation and Pretrial
17   Services Office (“USPO”) disclosed defendant’s Recommendation Letter
18   (“RL”) and PSR.      (Dkts. 25, 26.)    According to the USPO, defendant’s
19   Total Offense Level is 33 and his Criminal History Category is I,
20   which results in an advisory Guidelines range of 135-168 months.
21   (PSR ¶¶ 23-40, 45, 80.)      The USPO is recommending a high-end sentence
22   of 168 months’ imprisonment followed by a lifetime period of
23   supervised release.     (RL at 1-2, 7.)
24         The United States objects to the USPO’s calculation of the Total
25   Offense Level and submits that the correct Total Offense Level is 38,
26

27         1Consistent with the written plea agreement, the United States
     intends to dismiss the remaining counts of the Indictment at the time
28   of sentencing, so long as defendant has complied with the terms of
     the plea agreement.
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 7 of 129 Page ID #:249



1    resulting in an advisory Guidelines range of 235-240 months.             The

2    United States respectfully requests that the Court impose a sentence

3    of 188-months’ imprisonment followed by 30 years of supervised

4    release, 2 and a $100 mandatory special assessment.          Further, under 18

5    U.S.C. § 3664(d)(5), 3 defendant must be ordered to pay restitution,

6    which will be addressed in a separate filing.

7    II.   STATEMENT OF FACTS

8          The facts are straightforward and disturbing: Homeland Security

9    Investigation (“HSI”) agents received several Cybertips that Kik and
10   Snapchat accounts assigned to defendant were suspected of uploading
11   child pornography onto Kik and Snapchat platforms.           (PSR ¶¶ 10-12;
12   Dkt. 1 in Case No. ED 20-MJ-512 (“Complaint”) at ¶¶ 20-28.)            HSI soon
13   obtained and executed a search warrant at defendant’s residence in
14   Fontana, California.      (PSR ¶ 13; Complaint ¶¶ 35-37.)
15         Defendant agreed to talk to HSI about his involvement with child

16   pornography after receiving a Miranda warning.          (PSR ¶ 13; Complaint

17   ¶ 38.)   Defendant admitted to viewing child pornography since early

18   2019 (shortly after he started teaching at a middle school in 2018).

19   (PSR ¶¶ 13, 69; Complaint ¶ 39.)        Defendant admitted to viewing child

20   pornography on Kik, Snapchat, Mega, and Dropbox.           (PSR ¶¶ 13;

21   Complaint ¶¶ 39-40.)      Defendant also admitted to trading Mega and

22   Dropbox links to child pornography with other individuals online.

23   (Id.)

24

25        2 As part of the plea agreement, defendant has agreed that
     supervised release should be no less than 20 years. (Dkt. 21
26   ¶ 2(h).) He also agreed to various terms of supervised release in an
     Appendix to his plea agreement.
27
          3 The parties are currently in discussions concerning the
28   restitution total that the Court should order.
                                        2
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 8 of 129 Page ID #:250



1          HSI, with defendant’s consent, reviewed defendant’s Snapchat

2    accounts and located several conversations where defendant traded

3    child pornography with other Snapchat users.          (PSR ¶ 14; Complaint

4    ¶¶ 42-43.)    One of the conversations took place on August 22, 2020,

5    where defendant sent another user a video file depicting an adult

6    male vaginally penetrating a nude prepubescent female as well as a

7    video file depicting a nude prepubescent female masturbating.             (Id.)

8    HSI recovered about 1,500 still images and 724 video files from

9    defendant’s various Kik, Snapchat, digital devices, and Mega account
10   links.   (PSR ¶ 14.)
11         During the interview with HSI, defendant admitted that he also
12   engaged in video conversations with multiple other Snapchat users who
13   professed to be minors online when he streamed himself masturbating

14   and solicited them to masturbate for him. (PSR ¶¶ 17-18; Complaint

15   ¶¶ 44-46.)    Defendant admitted to masturbating for others and asking

16   that they do the same as recently as the night before the execution

17   of the search warrant.      (Complaint ¶ 45.)     The other Snapchat and

18   Instagram users represented themselves to be 10-13 years old, the

19   same age as his students at the middle school where he was a teacher

20   until his arrest in this case.       (PSR ¶ 18; Complaint ¶¶ 44-46.)

21   Defendant would ask these minors to “masturbate . . . [and] show

22   parts of themselves . . .” (Decl. of Sonah Lee, Exh. A at 53.)             When

23   asked whether defendant would ask the girls to penetrate themselves

24   with “combs or toothbrushes,” defendant admitted that “they would do

25   that.”   (Id.)

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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 9 of 129 Page ID #:251



1    III.        GUIDELINES CALCULATIONS

2           The United States agrees with the USPO that defendant’s properly

3    calculated Criminal History Category is I.          (PSR ¶¶ 42-45.)

4           The USPO calculated defendant’s Total Offense Level as follows:

5     Base Offense Level                  22            USSG § 2G2.2(a)(2)
6     Prepubescent Minor                  +2            USSG § 2G2.2(b)(2)
7     Valuable Consideration              +5            USSG § 2G2.2(b)(3)(B)
8     Use of Computer                     +2            USSG § 2G2.2(b)(6)
9     600+ Images                         +5            USSG § 2G2.2(b)(7)(D)
10    Acceptance of Responsibility        -3            USSG §§ 3E1.1(a), (b)
11    Total Offense Level                 33
12

13   (PSR ¶¶ 25-40.)     The United States concurs with these adjustments
14   recommended in the PSR.      With Criminal History Category I, USPO
15   calculated defendant’s advisory Guidelines range to be 135-168
16   months.    (PSR ¶ 80.)
17          The United States submits that an additional five-level
18   sentencing enhancement is applicable under USSG § 2G2.2(b)(5) in this
19   case.    This sentencing enhancement applies where a defendant engages
20   in a pattern of activity involving the sexual abuse or exploitation
21   of a minor.    See USSG § 2G2.2(b)(5).        The Application Note for this
22   enhancement says that “pattern of activity” means “any combination of
23   two or more separate instances of sexual exploitation of a minor,”
24   regardless of whether the abuse or exploitation occurred “during the
25   course of the offense,” “involved the same minor,” or “resulted in a
26   conviction.”    “[S]exual abuse or exploitation” means, among other
27   things, any conduct described in 18 U.S.C. §§ 2251(a)-(c) (production
28
                                               4
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 10 of 129 Page ID #:252



1    of child pornography), 2422 (coercion and enticement), or any attempt

2    or conspiracy to commit such an act.

3          First, from the plain language of the Application Note, this

4    sentencing enhancement applies broadly.         Generally, the United

5    States’ burden of proof regarding sentencing enhancements is

6    preponderance of the evidence, unless the sentencing enhancement has

7    such a disproportionate effect on the sentence relative to the

8    offense of conviction, when the United States must prove the

9    enhancement by clear and convincing standard. 4         United States v.
10   Jordan, 256 F.3d 922, 930 (9th Cir. 2001).

11

12
           4Whether the United States has to prove the enhancement under
13   preponderance of evidence or has to prove it under a heightened clear
     and convincing standard depends on these following factors:
14        (1) whether the enhanced sentence falls within the maximum
               sentence for the crime alleged in the indictment (it still
15             falls under the maximum sentence);
16        (2) whether the enhanced sentence negates the presumption of
               innocence or the prosecution’s burden of proof for the
17             crime alleged in the indictment (it does not);
          (3) whether the facts offered in support of the enhancement
18             crate new offenses requiring separate punishment (it does
               not);
19
          (4) whether the increase in sentence is based on the extent of
20             a conspiracy (it does not);
          (5) whether the increase in the number of offense levels is
21             less than or equal to four (the proposed enhancement is
               greater than four); and
22
          (6) whether the length of the enhanced sentence more than
23             double the length of the sentence authorized by the initial
               sentencing guideline range in a case where the defendant
24             would otherwise have received a relatively short sentence
               (it does not).
25   Jordan, 256 F.3d at 928.
26        The United States submits that given that the initial sentencing
     guideline range is 135-168 months and the guideline range advocated
27   by the United States is 235-240 months, and all others factors other
     than the number of enhancements (five levels vs. four levels) suggest
28                                           (footnote cont’d on next page)
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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 11 of 129 Page ID #:253



1          Under either standard of proof, the evidence shows that a five-

2    level sentencing enhancement for pattern of activity involving the

3    sexual abuse or exploitation applies in this case.           Defendant

4    admitted that he engaged in video conversations with minor users on

5    Snapchat and Instagram, where he live-streamed himself masturbating

6    and solicited the minors to engage in and stream themselves to show

7    him “part of themselves” and to masturbate with him.            HSI located

8    parts of the recent conversations on defendant’s Snapchat account.

9    Defendant admitted that they would penetrate themselves with foreign
10   objects during these video conversations.          The sexually explicit
11   conduct that defendant solicited and got multiple minors to engage in
12   constitutes criminal conduct prohibited by 18 U.S.C. §§ 2251 and
13   2422.    The five-level enhancement is undoubtedly appropriate here.
14

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17
     that the United States’ burden of proof in this matter is
18   preponderance of evidence.
19        But the correct rule is that the clear-and-convincing standard
     is never appropriate under the advisory Guidelines regime. That
20   heightened standard originated under a system of mandatory Sentencing
     Guidelines. See Jordan, 256 F.3d 922, 927 (9th Cir. 2001)
21   (discussing development of standard). Although the Ninth Circuit has
     continued to apply the standard under the now-advisory Guidelines,
22   see, e.g., United States v. Gonzalez, 492 F.3d 1031, 1039 n.5 (9th
     Cir. 2007), other circuits have not, see, e.g., United States v.
23   Jones, 531 F.3d 163, 176 (2d Cir. 2008); United States v. Fisher, 502
     F.3d 293, 305-06 (3d Cir. 2007); United States v. Brika, 487 F.3d
24   450, 460-62 (6th Cir. 2007); United States v. Leahy, 473 F.3d 401,
     413 (1st Cir. 2007); United States v. Reuter, 463 F.3d 792, 792-93
25   (7th Cir. 2006). Continued application of the standard—even as an
     exception to the ordinary rule—is clearly irreconcilable with modern
26   Due Process doctrine. See Beckles v. United States, 137 S. Ct. 886
     (2017); United States v. Buchan, 2021 WL 4988020, *2-*6 (9th Cir.
27   2021) (unpublished) (R. Nelson, concurring); cf. United States v.
     Lonich, 23 F.4th 881, 910 n.6 (9th Cir. 2022) (panel believes it is
28   bound by prior Ninth Circuit precedent to apply higher standard.
                                       6
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 12 of 129 Page ID #:254



1          With the five-level enhancement, the United States submits that

2    the correct Total Offense Level is 38, resulting in an advisory

3    Guidelines range of 235-240 months. 5

4    ///

5

6    IV.   ASSESSMENT OF THE SECTION 3553(a) FACTORS AND THE UNITED STATES’
           SENTENCING POSITION
7

8          Here, a sentence of 188 months’ imprisonment is sufficient, but

9    not greater than necessary, to comply with the purposes of
10   sentencing.     The nature and circumstances of the offense, the history
11   and characteristics of the defendant, the need to afford adequate
12   deterrence, and the need to avoid unwarranted disparities, all
13   support a sentence of 188 months, and no less, in this case.
14         A.    Nature and Circumstances of the Offense Are Egregious
15         Defendant’s conduct in this case was, without a doubt,
16   egregious.    Defendant accessed, downloaded, possessed, and
17   distributed child pornography.        Possession and distribution of child
18   pornography is not a victimless crime, as Victim Impact Statements

19   attached as Exhibits B-F to this Sentencing Position clearly

20   demonstrate.     Such criminal conduct “is intrinsically related to the

21   sexual abuse of children” both because “the distribution network for

22   child pornography must be closed if the production of material which

23   requires the sexual exploitation of children is to be effectively

24   controlled,” and because it constitutes a “permanent record of the

25   children’s participation and the harm to the child is exacerbated by

26
           5The advisory Guidelines range for Level 38 with CHC I is 235-
27   293 months, but the statutory maximum penalty for distribution of
     child pornography is 240 months. See 18 U.S.C. §§ 2252A(a)(2)(A),
28   (b)(1). Accordingly, that is the high end of the range.
                                        7
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 13 of 129 Page ID #:255



1    their circulation.”      New York v. Ferber, 458 U.S. 747, 759 (1982).

2    Crimes like the defendant’s guarantee that the underlying abuse is

3    “in effect repeated” since the victim knows “her humiliation and hurt

4    were and would be renewed into the future as an ever-increasing

5    number of wrongdoers witnessed the crimes committed against her.”

6    Paroline v. United States, 572 U.S. 434, 441 (2014).

7          As the Supreme Court has explained, “[c]hild pornography harms

8    and debases the most defenseless of our citizens.           Both the State and

9    Federal Government have sought to suppress it for many years, only to
10   find it proliferating through the new medium of the Internet.”
11   United States v. Williams, 553 U.S. 285, 307 (2008).            Congress, too,
12   has explained the difficulties in successfully combating the

13   “immense” problem of child pornography and the “rapidly-growing

14   market” for such materials, which is fueled by new technologies that

15   were largely unavailable when the Sentencing Guidelines were first

16   promulgated.     See S. Rep. No. 108-2 (2003).       Indeed, despite the

17   “pernicious evil” of the crime, S. Rep. No. 104358, Congress has

18   repeatedly expressed its dismay about the “excessive leniency” of

19   federal sentences, H. Rep. No. 108-66, especially in light of the

20   “continuing harm” caused to the children appearing in such materials,

21   as well as the inflammatory effect it has on the “desires of child

22   molesters, pedophiles, and child pornographers,” which results in a

23   robust and growing market for child pornography and therefore

24   increased abuse of innocent children, see Child Pornography

25   Prevention Act of 1996, Pub. L. No. 104-208, § 121, 110 Stat. 3009,

26   3009-26, 27 (1996), codified as amended at 18 U.S.C. § 2251; United

27   States v. MacEwan, 445 F.3d 237, 250 (3d Cir. 2006); United States v.

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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 14 of 129 Page ID #:256



1    Norris, 159 F.3d 926, 929 (5th Cir. 1998) (“[T]he ‘victimization’ of

2    the children involved does not end when the pornographer’s camera is

3    put away.”).

4          Not only was defendant’s conduct in accessing child pornography

5    disturbing, but he did not stop at merely downloading, watching,

6    trading, and distributing child pornography online.            He compounded

7    his crime by crossing yet another line--he reached out to minors

8    online (who appear to be the same age as his students) and asked them

9    to watch him livestream his masturbation and further asked them to
10   livestream themselves masturbating, including with foreign objects
11   like combs.     Defendant’s crimes, especially given that he had direct
12   access to children through his job as a middle school teacher, are
13   simply terrifying.
14         B.    A Slight Downward Variance is Appropriate Considering
                 Defendant’s Personal History and Characteristics
15

16         In mitigation, the United States notes that defendant was
17   cooperative when confronted by law enforcement at the time of the
18   search warrant execution at his residence in Fontana.            He readily

19   admitted to his illegal conduct and expressed seemingly genuine

20   remorse for his conduct.       Indeed, defendant even confessed that he

21   tried to wean himself off of viewing child pornography several times

22   unsuccessfully.

23         The United States’ recommendation of 188 months’ custody is a

24   variance from the correctly-calculated Guidelines range of 235-240

25   months, and represents a downward variance of two levels.             This is a

26   fair and just recommendation considering defendant’s immediate

27   cooperation with law enforcement, ostensibly genuine remorse, and

28
                                              9
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 15 of 129 Page ID #:257



1    asserted traumatic personal history referenced in the Presentence

2    Report (see ¶¶ 54-55).       While a sentence less than the correctly-

3    calculated Guidelines range is appropriate, that sentence should be

4    no less than 188 months when balancing the nature of the conduct and

5    defendant’s background, among other things.

6          C.    Supervised Release

7          The Court should impose supervised release for 30 years for

8    several reasons. 6    First, the Crime Victims’ Rights Act guarantees

9    the “right to full and timely restitution.”          18 U.S.C. § 3771(a)(6).
10   Because financial obligations will be imposed in this case, terms of
11   supervision concerning repayment should exist for a sufficient amount
12   of time to reasonably ensure full and timely repayment.            Second,
13   recidivism is a concern.       Congress explained when amending 18 U.S.C.
14   § 3583 that “[s]tudies have shown that sex offenders are four times
15   more likely than other violent criminals to recommit their crimes.
16   Moreover, the recidivism rates do not appreciably decline as
17   offenders age . . . .      While any criminal’s subsequent re-offending
18   is of public concern, preventing sexual offenders from re-offending

19   is particularly important, given the irrefutable and irreparable harm

20   that these offenses cause victims and the fear they generate in the

21   community.”     H.R. Rep. 107-527.     There is a significant risk that

22   defendant will reoffend when compared to a non-sex offender.

23         To be sure, Congress specifically intended for the term of

24   supervised release for sexual offenses to be longer than other

25   felonies.    See 18 U.S.C. § 3583(k) (maximum term of supervised

26   release for various sex offenses, including violations of 18 U.S.C.

27
           6As noted, defendant has agreed that supervised release should
28   be no less than 20 years. (Dkt. 21 ¶ 2(h).)
                                       10
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 16 of 129 Page ID #:258



1    § 2252A, is life, with a mandatory minimum term of five years).

2    Congress’s intent is similarly reflected in the policy statements by

3    the United States Sentencing Commission.          See Id. § 3553(a)(5)

4    (requiring consideration of “any pertinent policy

5    statement . . . issued by the Sentencing Commission”).            The

6    Guidelines recommend imposition of the maximum term of life

7    supervision for any defendant who has committed a sex offense: 7 “If

8    the instant offense of conviction is a sex offense, the statutory

9    maximum term of supervised release is recommended.”            USSG
10   § 5D1.2(b)(2).      The Court should impose 30 years of supervised
11   release.
12   V.    RESTITUTION
13         As noted by the USPO, 18 U.S.C. § 2259 prescribes mandatory
14   victim restitution for defendant’s crime of conviction (as does USSG
15   § 5E1.1).    The United States will confer with the defense concerning
16   whether the parties can reach a stipulation as to restitution.             The
17   United States will file briefing on this issue in the event the
18   parties are not able to come to a stipulated total.

19   VI.   CONCLUSION

20         For the foregoing reasons, the United States respectfully

21   submits that defendant should be sentenced to 188 months in custody,

22   followed by 30 years of supervised release, with a $100 mandatory

23   assessment, and restitution (as will be addressed in a later filing).

24

25   7 Application Note 1 to USSG § 5D1.2 defines a “sex offense” to mean
     an offense perpetrated against a minor under chapter 109A or 110 of
26   Title 18 of the United States Code. A violation of 18 U.S.C. § 2252A
27   is included as part of chapter 110. Thus, defendant’s conviction for
     distribution of child pornography, in violation of 18 U.S.C.
28   § 2252A(a)(2)(A), is a sex offense.
                                       11
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 17 of 129 Page ID #:259



1          This sentence is appropriate and warranted based on the nature

2    and circumstances of the offense, the history and characteristics of

3    the defendant, the need to afford adequate deterrence, and the need

4    to avoid unwarranted disparities.

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     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 18 of 129 Page ID #:260



1                               DECLARATION OF SONAH LEE

2          I, Sonah Lee, declare as follows:

3          1.    I am an Assistant United States Attorney in the United

4    States Attorney’s Office for the Central District of California.                 I

5    am the attorney representing the United States in the prosecution of

6    United States v. Vidal Quintanilla, ED CR 20-00192-JGB.

7          2.    Attached as Exhibit A to this declaration is a draft

8    transcript of defendant’s post-Miranda interview in connection with

9    this investigation.
10         3.    Attached as Exhibit B to this declaration is a victim

11   impact statement submitted by “April” from the “Aprilblonde” series.

12         4.    Attached as Exhibit C to this declaration is a victim

13   impact statement submitted by “Ballet Girl2”.

14         5.    Attached as Exhibit D to this declaration is a victim

15   impact statement submitted by “Mt. Lime.”

16         6.    Attached as Exhibit E to this declaration is a victim

17   impact statement submitted by “Pia” from the “Sweet White Sugar”

18   series.

19         7.    Attached as Exhibit F to this declaration is a victim

20   impact statements submitted by “Vicky” and family members from the

21   “Vicky” series.

22         I declare under penalty of perjury under the laws of the United

23   States of America that the foregoing is true and correct and that

24   this declaration is executed at Riverside, California, on February

25   13, 2022.

26

27                                                SONAH LEE
28
                                             13
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 19 of 129 Page ID #:261




                 EXHIBIT A
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 20 of 129 Page ID #:262
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 1



 1
 2
 3
 4
 5
 6
 7                             INTERVIEW WITH JOSUE VIDAL
 8
 9                         SA RUIZ= Special Agent Jonathan Ruiz
10                     DET. RODRIGUEZ= Detective Joshua Rodriguez
11                        SA SHELTON= Special Agent Ben Shelton
12                        SA ROELFS= Special Agent Dayna Roelfs
13                         SA KWAN= Special Agent Gorden Kwan
14                        SA CAVENY= Special Agent Denis Caveny
15                     GS BURDETT= Group Supervisor Jeffrey Burdett
16                                VIDAL=Josue Vidal
17
18                            START OF RECORDING VN810011
19
20   SA RUIZ:       The date is September 23, 2020. Attempt interview of Josue Vidal. The time is
21                  6:30 a.m. Address       Upas Court, Fontana, California. Jonathan Ruiz and
22                  Detective Rodriguez. Ready?
23
24   DET. RODRIGUEZ: Yup.
25
26   SA RUIZ:       In an effort to kind of speed things along. Um, I’m going to start - I’ll start
27                  asking some questions and showing everybody a copy of the warrant. I have
28                  another copy that I’m going to leave with Agent Swearingen. I know you want
29                  to see it so I told him, you know, go ahead and start. All the residents can -
30                  can see it. But so we can get out of here sooner than later, will just go ahead
31                  and start. Josue, if you don’t mind, we’ll just talk outside briefly and then
32                  we’ll have, I guess, a family meeting if you want. We’ll be - we’ll be open
33                  about everything.
34
35   VIDAL:         Okay.
36
37   SA RUIZ:       Are you cold? Do you want a jacket or something?
38
39   VIDAL:         No, it’s fine.
40
41   SA RUIZ:       Okay, cool.
42
43   VIDAL:         I just want to get sandals.
44
45   SA RUIZ:       I gotcha. Yeah, let’s get some shoes.


                                                                                              USA_000922
     Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 21 of 129 Page ID #:263
                                                                         INTERVIEW WITH JOSUE VIDAL
                                                                                 Case # RV07QR20RV0014
                                                          Audio Recordings VN810011, VN810012, VN810013
                                                                                                  Page 2



46
47   DET. RODRIGUEZ: Here you are-
48
49   SA RUIZ:       This shouldn’t be-
50
51   DET. RODRIGUEZ: Here’s some sandals.
52
53   VIDAL:         These are my moms sandals but that’s fine.
54
55   SA RUIZ:       No, that’s fine. They look better on you anyway. You can just have a seat
56                  right there.
57
58   VIDAL:         Okay.
59
60   SA RUIZ:       I wanted to - I wanted to kind of get away from everybody, okay, so we can
61                  maybe talk privately. Um, I, uh, just have a couple of questions. I’ll be asking
62                  everybody in the house. Just kind of some basic bio questions. You’re not
63                  under arrest. Did anybody tell you that you - you were under arrest?
64
65   VIDAL:         No.
66
67   SA RUIZ:       Okay. I just want to make sure you understand that. Um, you work today?
68
69   VIDAL:         Uh-uh.
70
71   SA RUIZ:       Okay. I want to make sure we don’t impede that, okay? So that’s why I
72                  wanted to talk with you first you can get on with your day. I’m hoping with
73                  your cooperation we can get out of your hair and be less of an inconvenience
74                  as we already are but, um, that depends on a few things too, okay? Your full
75                  name?
76
77   VIDAL:         I’m Josue Gamaliel Vidal Quintanilla.
78
79   SA RUIZ:       Um, you said Quintanilla?
80
81   VIDAL:         Yes.
82
83   SA RUIZ:       Vidal? Okay and you just go by Mr. Vidal?
84
85   VIDAL:         Mm-hmm.
86
87   SA RUIZ:       Okay. And your birthday?
88
89   VIDAL:         Um,                  1991.
90


                                                                                            USA_000923
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 22 of 129 Page ID #:264
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 3



 91   SA RUIZ:       ‘91?
 92
 93   VIDAL:         Yes.
 94
 95   SA RUIZ:       Okay. And then do you have a Social?
 96
 97   VIDAL:         Yes.
 98
 99   SA RUIZ:       Okay, what is it?
100
101   VIDAL:            - -2689.
102
103   SA RUIZ:       Okay. Um. And, what - any - any of the - we have a search warrant. Let me
104                  explain this first. We have a search warrant and I’m going to show it to you
105                  for the - the premises and your person. Um, it’s not an arrest warrant. I don’t
106                  anticipate taking you into custody today. Anything that we seize today we are
107                  going to have forensics look at. If we don’t have to keep it, we want to return
108                  it. Is there a way I can get in touch with you if I need to return property, like,
109                  computers or - or any property that gets taken, we’ll write it on inventory but I
110                  want to make sure that - that stuff gets back to you should we not need to keep
111                  it. What’s a good number for you?
112
113   VIDAL:         Um,         -
114
115   SA RUIZ:       Okay.
116
117   VIDAL:                -2-0-5-5.
118
119   SA RUIZ:       And an email?
120
121   VIDAL:         Um, Josue J-O-S-U-E underscore Vidal V-I-D-A-L underscore
122                   @yahoo.com.
123
124   SA RUIZ:       At Yahoo, okay.
125
126   VIDAL:         That’s my old personal email.
127
128   SA RUIZ:       Yeah? How long have you had that one?
129
130   VIDAL:         Four years, from when I was in middle or high school.
131
132   SA RUIZ:       Oh, okay so you’ve had that for a while.
133
134   VIDAL:         Yeah.
135


                                                                                              USA_000924
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 23 of 129 Page ID #:265
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 4



136   SA RUIZ:       We - I ran into somebody yesterday who was still using an old AOL account
137                  which I was very surprised to hear. So we have a copy or here’s - I’m going to
138                  leave you with copies of the search warrants. Um, and were also going to be
139                  leaving you with copies of anything that is seized, okay? Um, you know,
140                  before I get that, let me show you my ID first of all. My name is Jonathan
141                  Ruiz. I’m a Special Agent with Department of Homeland Security,
142                  Immigration and Customs Enforcement. We’re not here for an immigration
143                  issue, okay? In fact I - I can’t say that I care less about that because that’s not
144                  what I’m supposed to say but we are not here for that, okay? You can just call
145                  me Jonathan, all right? This is Detective Rodriguez with Fontana PD.
146
147   DET. RODRIGUEZ: Just call me Joe.
148
149   SA RUIZ:       Alright, I’m hoping we can have an honest discussion about the online activity
150                  that’s been - that’s been going on, okay? It’s concerning given what you do
151                  for a living, but at the same time I understand that there are things that
152                  Detective Rodriguez and I see. We do a lot of these kinds of search warrants
153                  and we sometimes we see worst-case scenarios. You have a pleasant family. I
154                  don’t - I don’t know that this is one of those situations. What people do in the
155                  confines of their own room, look at online, is one thing. And then as Detective
156                  Rodriguez can probably swear to as well, we see worst-case scenarios where
157                  you have, like, kids in cages when we - when we execute search warrants,
158                  okay? I’m hoping we can have an honest discussion about where you are at in
159                  that spectrum of what you do in the confines of your own room. To what we
160                  see worst-case scenario, because the Internet activity at this house, your
161                  phone, has been monitored for a while. The type of content that is being
162                  shared by people who are not involved in that - that lifestyle would just
163                  automatically think someone like yourself is a monster. We deal with people
164                  all the time. We’re not here to judge. We’re not here to make you feel bad
165                  about it. I’m here to be honest with you, to try to find the people who are
166                  producing this material. I’m hoping you can help me with that. Department of
167                  Homeland Security has interest in a few individuals you’ve spoke to on
168                  different platforms that we want to identify. There have been images that you
169                  have received, images you have sent to these people. There is information in
170                  those images that help us identify where those guys are located and where
171                  these images are being produced.
172
173   VIDAL:         Mm-hm.
174
175   SA RUIZ:       And ultimately that’s - that’s my main goal is making sure one, there aren’t
176                  any kids in danger, that there aren’t any kids being victimized and having
177                  images recorded of them and sent out. It doesn’t look like we have that here.
178                  But there’s a lot of things that on the surface can look normal and don’t. But I
179                  would like to have a conversation about that with you, okay?
180


                                                                                              USA_000925
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 24 of 129 Page ID #:266
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 5



181   VIDAL:         Mm-hm.
182
183   SA RUIZ:       It’s completely voluntary. I’m hoping that we can leave here today and move
184                  this investigation forward and identify these people. But that - that also
185                  depends on your willingness to - if you want to answer some questions. I’m
186                  going to give you these warrants here. I’m going to explain them to you. I’m
187                  not gonna hide anything from you. I’m not here to trick you. You seem like -
188                  you seem like you’re a nice guy. I’m going to give you the benefit of the
189                  doubt. We - I know his team does, like, 100 of these a year. We do the same.
190                  We see all sorts of people. I’m not going to base your activity online as a
191                  means to judge you, just like these other guys who are doing some horrendous
192                  things, okay? So if you’re honest with me I’m going to be completely honest
193                  with you. The search warrant for your person. It’s a Federal warrant signed by
194                  the judge. That’s all this front page is, okay? It’s just - it’s just the person, the
195                  judge’s signature, date and time. If there’s anything we seize from your person
196                  we - we identify it here. The first attachment is we have to be clear about what
197                  we’re going to search, brief description and then the second attachment are
198                  going to be the things that we’re looking for. I’m not here to, you know, take
199                  cars or things like that. It’s not within our rights to just take everything that we
200                  can. We are focused on narrowly - narrowing down our items, okay? So we
201                  are looking at all the computer devices and I hope we don’t have to take them
202                  all. I’m sure there are devices that you don’t engage on the - engage these
203                  platforms on. I have no interest in taking those things and I don’t want to
204                  impede your ability to do your job either. Its going to depend on some
205                  cooperation if we can get those whether you’d now and say, hey, these are
206                  fine to stay or we gotta take him to the lab, okay? It’s completely up to you.
207                  But we do have to search these things before we can allow them to go back
208                  into your custody. The other search warrant is for the residents. Basically, just
209                  the property here and the same thing as the other warrant, it’s a description.
210                  Not a description, I’m sorry, but the location and actually that’s your person.
211                  I’m sorry. I pulled out both of yours. This is the residence, the signature,
212                  things that we take, or things that we seize, the attachment of the property,
213                  basically outlining, you know, I can’t going search your neighbor’s property
214                  just because your adjacent to it. It’s very specific as to what we can search.
215                  Bless you.
216
217   DET. RODRIGUEZ: Thanks.
218
219   SA RUIZ:       Same, and of course items to be seized. So if anything within the scope of the
220                  warrant is identified here then will be documenting it here and will be leaving
221                  it with you. I would rather just talk to you directly versus having to go through
222                  your parents. This is something - you’re an adult. I think that we can talk to
223                  you directly with. I’ll leave you with my contact information so that we can
224                  have an open dialogue as this thing moves forward. The people inside are here
225                  to search for evidence. Then you have a prosecuting attorney who decides


                                                                                               USA_000926
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 25 of 129 Page ID #:267
                                                                          INTERVIEW WITH JOSUE VIDAL
                                                                                  Case # RV07QR20RV0014
                                                           Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 6



226                  whether or not to prosecute. It’s up to them. I’m here to gather the information
227                  that they have and the information that we talk about today and represent that
228                  accurately to the people who make that decision, okay. That’s it. I liked to
229                  think that like there’s an accident, you know, you walk into the kitchen, you
230                  hear a loud bang and you see your mom in there and let’s say there’s eggs all
231                  over the floor and she’s got a carton of eggs in her hand. And she says, “I
232                  didn’t do it.” Looks like she did, right? I’m not here to make anyone feel bad
233                  for dropping eggs. I’m here to help pick up the pieces, clean it up and move
234                  forward. Okay? This might be the first time you talk to anybody about the
235                  stuff. 99.9 percent of the time that is the case, okay? And so I’m not here to
236                  make you feel bad about it. There may have been some decisions that you’re
237                  not proud of that were going to move forward, okay? And so I told you in the
238                  beginning we’ve been monitoring the Internet for a while. So there are things
239                  that I’m going to ask you questions to if you’re comfortable with it and it’s
240                  not because I’m really trying to figure out the answer I’m trying to determine
241                  if you’re being honest with me. Because there is a concern given what you do
242                  for a living but if you’re not being honest with me it makes me wonder if
243                  there’s something else you’re hiding. So to the extent, you know, you’re
244                  comfortable I’d liked to ask you some questions and move forward and I’m
245                  really hoping that one, at the end of this, we can be upfront with you. There’s
246                  another dog?
247
248   VIDAL:         Yeah, but she doesn’t bark.
249
250   SA RUIZ:       She, barely moves.
251
252   VIDAL:         She’s, like, half blind.
253
254   SA RUIZ:       What’s going on? I would like to be able to take over accounts that you have
255                  used and have seen child pornography on. So that we can identify people who
256                  are producing it and and get those people. Okay? That’s ultimately what my
257                  goal is. All right? But let me give you a copy of this.
258
259   VIDAL:         I’ll be honest with you though. I completely regret it. Because I know that it
260                  was wrong and given what I do I just - I felt really guilty and, you know I’m
261                  not sure if you’ve been in a situation where you know you’re doing wrong but
262                  you - you have a hard time stopping? That’s - that’s, honestly, that’s how I
263                  felt.
264
265   SA RUIZ:       Okay.
266
267   VIDAL:         Every single day just I want to stop and
268
269   SA RUIZ:       Okay.
270


                                                                                             USA_000927
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 26 of 129 Page ID #:268
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 7



271   VIDAL:         Like, I deleted everything that I had. Like, and sometimes I would - I would
272                  regret it so badly and I’m, like, I don’t know why I’m doing this and I never
273                  wanted my parents to find out or anyone to find out. I’m like “Oh my
274                  goodness.” I don’t want this to like affect me (unintelligible) because I love
275                  what I do. I love my job and I hate what I’ve done. Honestly, I just hate it.
276                  And I’ll be honest with you, now this - this is a really good motivation to just
277                  completely stop.
278
279   SA RUIZ:       I hope so.
280
281   VIDAL:         Now I know this is probably really serious.
282
283   SA RUIZ:       Yeah - yeah. Well, and like I prefaced this conversation with, there - I - I have
284                  talked to people many times -- I’ve been doing this for 14 years -- that that say
285                  the exact same thing and then they won’t be honest during an interview. It’s
286                  completely voluntary, right? And so there are times where they’ll lie to me
287                  during it and it makes me wonder what else they’re hiding and then we find
288                  things on their phones that isn’t just involving trading images of children nude
289                  or engaging in sex acts. It is worse than that and not to say that if that’s
290                  happened it’s okay to disclose to me. I’m just saying that just be honest with
291                  me so that we can move forward. We can, if we need to, we can get you help.
292                  We can help provide you with a means to make sure this stops because you,
293                  look, school is, I mean, some people enjoy school. I didn’t necessarily enjoy
294                  school, but it takes a lot to get where you’re at and I’m not here to jeopardize
295                  that. It’s not my job to make you feel shitty or good or whatever about it. I’m
296                  here just to make sure that, one, this stops, and two the stuff that they seize
297                  doesn’t just speak for itself. I am sure you’ve seen things online that are
298                  jarring. Not something you’re necessarily into, maybe something you saved,
299                  but without really intending for - to enjoy it. But it might be on your
300                  computer. It might be on your phones. Those things tend to describe you
301                  moving forward once they’re seized. I’m here to have a conversation about
302                  what the real Josue is about as far as these are the kind of images I looked at
303                  and these are the kind of images I reviewed. I may have seen these. I’m not
304                  into those. I’m into these. I’m here to kinda get that open dialog with you so
305                  that the people who say, hey, look, yeah, he, you know, good people make bad
306                  decisions and good people do bad things sometimes. But we all gotta move
307                  forward and how we move forward determines if that person’s going to be
308                  good or bad from there on out, right?
309
310   VIDAL:         Mm-hm.
311
312   SA RUIZ:       Let me get - it’s a little chilly out here. Let me get you something. Let me give
313                  you these and take your time reviewing them and then I’ll answer any
314                  questions you have. You need a pen? A jacket - a jacket. Can you get him a
315                  jacket?


                                                                                              USA_000928
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 27 of 129 Page ID #:269
                                                                               INTERVIEW WITH JOSUE VIDAL
                                                                                       Case # RV07QR20RV0014
                                                                Audio Recordings VN810011, VN810012, VN810013
                                                                                                        Page 8



316
317   SA SHELTON:      Where is it?
318
319   SA RUIZ:         In, oh, in his room. Just make sure somebody gets it.
320
321   SA SHELTON:      Okay, his jacket?
322
323   SA RUIZ:         Just somebody - make sure somebody gets it.
324
325   SA SHELTON:      Okay.
326
327   SA RUIZ:         He’s getting you a jacket right now, so.
328
329   DET. RODRIGUEZ: Do you have something (unintelligible) on you?
330
331   SA RUIZ:         I don’t think so. Not at the moment. Is he - is he difficult to get back?
332
333   DET. RODRIGUEZ: No, uh something else they are working on for court and just want to
334                know if they can leave.
335
336   SA RUIZ:         Oh perfect. Thank you.
337
338   SA SHELTON:      There you go.
339
340   DET. RODRIGUEZ: Here you go buddy.
341
342
343   SA RUIZ:         Better?
344
345   VIDAL:           Yeah.
346
347   SA RUIZ:         A little bit?
348
349   VIDAL:           I didn’t think it was going to be that cold.
350
351   SA RUIZ:         It’s a little - it’ll get hot out here but, as you know, it’s been hot the last few
352                    days so I think it’s going to heat up. Let me ask you something real quick,
353                    were you born in the US?
354
355   VIDAL:           Mm-hmm.
356
357   SA RUIZ:         Okay. We by no means are just an immigration agency, although we often get
358                    confused for that being with Homeland Security. So what I need to do is I’m
359                    going to read you your rights not because I’m taking you into custody or
360                    because you’re under arrest. This engagement is completely voluntary, okay?


                                                                                                  USA_000929
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 28 of 129 Page ID #:270
                                                                          INTERVIEW WITH JOSUE VIDAL
                                                                                  Case # RV07QR20RV0014
                                                           Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 9



361                  But because we deal with people who aren’t from this country and are
362                  unaware of what their rights are, my agency, we do this, okay? So before we
363                  ask you any questions it’s my duty to advise you of your rights. You have the
364                  right to remain silent. Anything you say can be used against you in a court of
365                  law or other proceedings. You have the right to consult with an attorney
366                  before making any statement or answering any questions. You have the right
367                  to have an attorney present with you during questioning. If you can’t afford an
368                  attorney one will be appointed for you before any questioning if you wish.
369                  And if you decide to answer questions now you still have the right to stop
370                  asking or answering questions at any time or stop the questioning for the
371                  purpose of consulting with an attorney. We just had a conversation in English.
372                  I assume you understand English. I should’ve asked you that first, because I
373                  also have a Spanish one. But do you understand English? Okay. Do you
374                  understand what I read to you?
375
376   VIDAL:         Mm-hmm.
377
378   SA RUIZ:       Yes? Okay. You’re not - you’re not in custody, okay? I don’t anticipate taking
379                  you into custody today. That depends on a lot of things. Like I said, I would
380                  have to make calls first to decide -- or not to decide -- but to the people who
381                  decide whether or not to move forward on this and that’s why I’m hoping we
382                  can have a conversation privately so that the things that we might discuss now
383                  I’m sure are very sensitive as you discussed earlier. You don’t - you’ve never
384                  envisioned having a conversation with your parents about these things, right?
385                  So we might be the first people you’ve ever talk to in person about this subject
386                  matter. And I’m respectful of that. I don’t want to make it anymore difficult
387                  for you as possible - as it already is, okay?
388
389   VIDAL:         Mm-hmm.
390
391   SA RUIZ:       So if we can move forward, there are some questions I have. At the end, if
392                  you’re comfortable, I also have a form should use decide to allow us to do it
393                  that allows us to take over accounts that you not only have had that have been
394                  shut down but accounts you currently possess that we might be able to exploit
395                  to find people who are producing material and in some cases a lot of these -
396                  we know at least two of them aren’t even in the United States but our offices
397                  in those countries can help us deal with these people. So, if you’re
398                  comfortable, we can move forward and I really don’t want to impede the rest
399                  of your day so we can just move forward if that’s okay. Is that okay? Okay.
400                  One of the things that you said that kinda not necessarily stuck out that I but I
401                  want to be respectful of is that there have been times where you try to stop and
402                  you haven’t or you deleted stuff and it sounds what he started viewing it
403                  again. Take me back to when it was that you first started seeing child
404                  pornography, whether it’s online, printed, whatever, just the first time you
405                  were some minor engaged in a sex act.


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      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 29 of 129 Page ID #:271
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 10



406
407   VIDAL:         Um, so basically...
408
409   SA RUIZ:       I’m sorry. I can’t. I have a bad ear, so...
410
411   VIDAL:         I would say January or February.
412
413   SA RUIZ:       Okay.
414
415   VIDAL:         And I was not aware of it that they were under age until, um, like,
416                  (unintelligible) seeing but this was a long time ago so I don’t remember how
417                  (unintelligible), um, person told me that the kid was 14 or 15 and I was not
418                  aware of that.
419
420   SA RUIZ:       Okay.
421
422   VIDAL:         And I would say I was scared at first because I was, like, oh, you know, that’s
423                  a child and I was scared that after watching it and then, like, I would say later
424                  on it started interesting me and I knew that it was wrong but I didn’t want to
425                  go back to it. So I would say that was back in January or February that I first
426                  saw. But that was last year.
427
428   SA RUIZ:       Okay.
429
430   VIDAL:         Last year.
431
432   SA RUIZ:       So about a year now?
433
434   VIDAL:         Yeah.
435
436   SA RUIZ:       Okay.
437
438   VIDAL:         A year, but I wasn’t aware that it was child.
439
440   SA RUIZ:       Okay.
441
442   VIDAL:         But then like I said I was, like, scared after that. And I didn’t want to see it
443                  then for some reason it really got my attention and I was, like, no, I shouldn’t
444                  be watching that stuff. Then I was, like, okay, maybe I’ll just try something
445                  else and kept searching and then found another one like them and I was, like, I
446                  would say curiosity kind of like got to me and I started watching it and I was,
447                  like, oh, okay, well, it wasn’t that bad what I thought but I knew that it was
448                  wrong and I felt bad about it. And then I kept on. So I want to say yeah, to
449                  answer your question about January or February last year.
450


                                                                                                USA_000931
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 30 of 129 Page ID #:272
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 11



451   SA RUIZ:       Okay. And what platform was that on? Like-
452
453   VIDAL:         That was on I want to say it was Kik.
454
455   SA RUIZ:       On Kik?
456
457   VIDAL:         It was on Kik.
458
459   SA RUIZ:       Okay. And you remember what device it was on?
460
461   VIDAL:         You know what, I can’t remember where. I can’t remember.
462
463   SA RUIZ:       You don’t remember where? Because I know in your room there’s quite a few
464                  devices in there. Okay. And let’s start with that. And it sounds like - are you
465                  seeing child pornography on more than one device, or only one device, or
466                  something different?
467
468   VIDAL:         I watched on - okay, so, like, for example on my old phone I would watch it.
469
470   SA RUIZ:       Which is what?
471
472   VIDAL:         It was a - it was a - what do you call that? I can’t remember the name of it. It’s
473                  a Samsung but it’s no longer in service.
474
475   SA RUIZ:       Okay.
476
477   VIDAL:         So it doesn’t work.
478
479   SA RUIZ:       So it’s on your - when you say your old phone, you’re referring to a Samsung?
480
481   VIDAL:         Yeah.
482
483   SA RUIZ:       Okay.
484
485   VIDAL:         But, like, there’s nothing, I completely deleted everything, like, there’s no...
486
487   SA RUIZ:       You wiped it?
488
489   VIDAL:         Yeah.
490
491   SA RUIZ:       Okay. And how long ago did you wipe it?
492
493   VIDAL:         I wiped it...
494
495   SA RUIZ:       Approximately. If you tell me a day and forensics says no, it was two days


                                                                                               USA_000932
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 31 of 129 Page ID #:273
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 12



496                  ago. I’m not - we’re not jamming you up on that. But, I mean, approximate.
497
498   VIDAL:         I want to - I’m not sure if it was within, like, the last month or two months.
499
500   SA RUIZ:       Okay.
501
502   VIDAL:         I don’t remember.
503
504   SA RUIZ:       Within a couple of months?
505
506   VIDAL:         Yeah.
507
508   SA RUIZ:       Okay. Now, forensics is going to look at some of the devices. Things that they
509                  can’t look at on scene they’re going to have to take and take to the lab. One of
510                  the things that could help expedite that are the passcodes to the devices so that
511                  we don’t have to take them to the lab for analysis. The Samsung, does it have
512                  a - the old Samsung that you reset, doesn’t have a code? Now?
513
514   VIDAL:         No.
515
516   SA RUIZ:       Okay, so it’s open? Okay. Do you have any passcodes on your phones?
517
518   VIDAL:         My - my main phone, yes.
519
520   SA RUIZ:       Okay and what’s your main phone? What is it?
521
522   VIDAL:         It’s - what you mean by what?
523
524   SA RUIZ:       What is it? What kind of phone is it and?
525
526   VIDAL:         Well, it’s a Samsung 7.
527
528   SA RUIZ:       A Samsung 7? Okay. I’m going to write this down just so I can keep
529                  everything in check because there’s quite a few devices in your room.
530                  Samsung 7, okay, and what’s the passcode to that?
531
532   VIDAL:         That one is, um 8-2-3-7.
533
534   SA RUIZ:       Just those four digits? 8-2-3-7?
535
536   VIDAL:         Mm-hmm.
537
538   SA RUIZ:       Okay. Any other devices in your room that require a password?
539
540   VIDAL:         Just my laptop. My work laptops.


                                                                                              USA_000933
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 32 of 129 Page ID #:274
                                                                                 INTERVIEW WITH JOSUE VIDAL
                                                                                         Case # RV07QR20RV0014
                                                                  Audio Recordings VN810011, VN810012, VN810013
                                                                                                         Page 13



541
542   SA RUIZ:       Your work laptops? You have two work laptops? Okay what...
543
544   VIDAL:         Actually, three.
545
546   SA RUIZ:       Three? Jesus. Okay, what’s the first one?
547
548   VIDAL:         Okay, they’re all the same.
549
550   SA RUIZ:       Okay.
551
552   VIDAL:         It’s J-E-M-E...
553
554   SA RUIZ:       So let’s start from the beginning. J-E...
555
556   VIDAL:         J-E-M-P-N-M-F-23.1.
557
558   SA RUIZ:       Any capitals, or lowercase? Or are they all lowercase?
559
560   VIDAL:         Lowercase.
561
562   SA RUIZ:       Okay so that’s J-E-M-P-N-M-F-23.1?
563
564   VIDAL:         Yes.
565
566   Q2:            Okay so it looks like this?
567
568   VIDAL:         Yes.
569
570   SA RUIZ:       What does that mean?
571
572   VIDAL:         It’s the - it’s the initials of Psalms 23.
573
574   SA RUIZ:       Okay. Religious man.
575
576   VIDAL:         Mm-hmm.
577
578   SA RUIZ:       Okay.
579
580   VIDAL:         That’s why that’s why am telling you, like, I felt bad for those kids because,
581                  you know, because my faith.
582
583   SA RUIZ:       Okay.
584
585   VIDAL:         And I’ve been trying my best to stop.


                                                                                                    USA_000934
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 33 of 129 Page ID #:275
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 14



586
587   SA RUIZ:       Okay.
588
589   VIDAL:         Because...
590
591   SA RUIZ:       Okay. When was the last time you saw it, child pornography?
592
593   VIDAL:         Okay, well I’ll be completely honest with you.
594
595   SA RUIZ:       Well, and let me stop you there. I don’t want you to lie to me. Because
596                  forensics is going to look at the stuff and this is what ends up getting some
597                  people who talk to us in more trouble when the people who decide whether
598                  move forward or not the guy will tell me, yeah, you know what, I’ve got five
599                  images on my phone. I haven’t looked at them in, God, at least a year. And
600                  then we look at the phone and forensics is, like, no, not only has it been
601                  looked at today but there’s 2,000. It’s just better to be honest so that what you
602                  do tell me we, you know, only you know what’s on these devices right now.
603                  Forensics will find out. I just don’t want to be in a position to say, hey, this is
604                  what Josue told me and I hope it’s consistent with that because that’s what’s
605                  going to make, you know, whether or not we can, you know, trust you and
606                  what you say if what we find is consistent. So I just ask that, you know, just
607                  don’t lie about it. Just be honest. When was the last time you saw child
608                  pornography?
609
610   VIDAL:         Within the week.
611
612   SA RUIZ:       Okay. So sometime this week?
613
614   VIDAL:         Mm-hmm.
615
616   SA RUIZ:       Okay and what platform was on?
617
618   VIDAL:         It was on my, let’s see, I think was on my tablet.
619
620   SA RUIZ:       Okay. So the tablet, what is - what is...
621
622   VIDAL:         Oh, that also has a passcode, the tablet.
623
624   SA RUIZ:       Okay.
625
626   VIDAL:         It’s the same thing as my phone, 8-2-3-7.
627
628   SA RUIZ:       Okay. And what is it? Is it a Samsung? Is it something different? Okay. And
629                  how long have you had it?
630


                                                                                               USA_000935
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 34 of 129 Page ID #:276
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 15



631   VIDAL:         I’ve had that tablet for probably 2 or 3 years.
632
633   SA RUIZ:       Okay. So it’s an older one. Okay. And what platforms do you view child
634                  pornography on - on the tablet?
635
636   VIDAL:         So, for that one it has been, like, Mega links or Dropbox links that I’ve seen
637                  those things before.
638
639   SA RUIZ:       Okay. Are you sav- - do you have a Mega account?
640
641   VIDAL:         No.
642
643   SA RUIZ:       You’ve never created one?
644
645   VIDAL:         I think I do, but I don’t have anything, like, I’ve never used it before. I don’t
646                  think I’ve ever uploaded anything. I don’t think so. I’m not 100 percent sure.
647
648   SA RUIZ:       Okay - okay. And what about Dropbox?
649
650   VIDAL:         Dropbox, I do have a Dropbox but I’ve only used it for personal.
651
652   SA RUIZ:       Okay.
653
654   VIDAL:         I’ve never used it for, like, uploading I don’t think.
655
656   SA RUIZ:       Okay
657
658   VIDAL:         All tell you this. Along - long time ago, I did have I don’t remember the exact
659                  website that I used. I’m not sure if it was Dropbox. I think it was Dropbox.
660                  But I uploaded images there and then I deleted them.
661
662   SA RUIZ:       Okay. Okay. Have you only had one Dropbox?
663
664   VIDAL:         Yes.
665
666   SA RUIZ:       Okay.
667
668   VIDAL:         But I had, like, my own personal, like, the one that I uploaded and deleted that
669                  was not my personal. That was a different one.
670
671   SA RUIZ:       And what makes it not personal? Was it someone else’s account?
672
673   VIDAL:         No, it was just a fake account that I used.
674
675   SA RUIZ:       Okay. Not to - not to be ticky tack, unless you’re, like, the government then,


                                                                                              USA_000936
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 35 of 129 Page ID #:277
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 16



676                  you know like, I have a personal email and then I have an official email.
677                  Anything, whether it’s fake or not, on my personal side is all mine whether I
678                  wanted to be identifiable to me or not. So you have two Dropbox accounts
679                  spirit one is a registered account to you that’s used with a fictitious name and
680                  then you have one that is what you refer to as your personal?
681
682   VIDAL:         Mm-hmm.
683
684   SA RUIZ:       Okay. When it comes to the Dropbox - and the reason why we are - I’m
685                  getting in the weeds on this, both of our agencies get referrals from providers
686                  like Dropbox and it can take a year after you upload it. It could be some
687                  random audit that they do once every two years. And they find material and
688                  then they refer to us. I don’t want another agency to come in years later and
689                  say, hey, Dropbox found this and they are executing a search warrant. So to
690                  the extent we can identify that ahead of time, we can alleviate that from
691                  happening.
692
693   VIDAL:         Mm-hmm.
694
695   SA RUIZ:       So. Not only for the purpose of just being thorough, but I want to make sure
696                  that something like this doesn’t happen again that can be prevented, right?
697                  What was the first Dropbox account that you created? Is that your personal
698                  one?
699
700   VIDAL:         Yeah.
701
702   SA RUIZ:       Okay. And what is not registered to?
703
704   VIDAL:         That is registered to I want to say my - one of my emails. I don’t know the -
705                  I’m not sure if it’s the email address that is associated with that. Okay, what’s
706                  the other email address you have?
707
708   VIDAL:         Or it could be the other email J-A-Y-G-E-E-V-E-E-Q-            @Gmail.com.
709
710   SA RUIZ:       At Gmail. Okay. Now, the Gmail, is that the one you register your, like, fake
711                  accounts to?
712
713   VIDAL:         I think.
714
715   SA RUIZ:       You think so?
716
717   VIDAL:         I’m not hundred percent.
718
719   SA RUIZ:       Is there any other emails that you have that you use or have subscribed
720                  services to?


                                                                                              USA_000937
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 36 of 129 Page ID #:278
                                                                         INTERVIEW WITH JOSUE VIDAL
                                                                                 Case # RV07QR20RV0014
                                                          Audio Recordings VN810011, VN810012, VN810013
                                                                                                 Page 17



721
722   VIDAL:         I don’t think so.
723
724   SA RUIZ:       Okay. So there’s those two...
725
726   VIDAL:         I’m not 100 percent sure though.
727
728   SA RUIZ:       Okay. So I can follow up with Dropbox and say, hey, if you guys find material
729                  or report material relating to these 2 refer it to me versus send something out
730                  that’s new. Dropbox, you think you have a Dropbox account for both of these
731                  emails possibly?
732
733   VIDAL:         I’m not hundred percent sure.
734
735   SA RUIZ:       Okay.
736
737   VIDAL:         It’s been so long.
738
739   SA RUIZ:       Okay. As of today, do you know if there is child pornography in either of the
740                  Dropbox accounts associated with this?
741
742   VIDAL:         No. think I deleted it.
743
744   SA RUIZ:       Okay, well, you should have never saved them.
745
746   VIDAL:         Mm-hmm.
747
748   SA RUIZ:       But you’re saying that you think you’ve deleted them?
749
750   VIDAL:         Yeah, I believe I did.
751
752   SA RUIZ:       Okay. And about how long ago was that?
753
754   VIDAL:         It was last year. For sure.
755
756   SA RUIZ:       Okay - okay. So right around from time you first started-
757
758   VIDAL:         Mm-hmm.
759
760   SA RUIZ:       -it sounds likely Okay. Now, Mega. You think you may have created an
761                  account? If-
762
763   VIDAL:         I may have but I don’t think I ever uploaded anything.
764
765   SA RUIZ:       Okay. Have you ever saved, or when you say upload, you know, into your


                                                                                            USA_000938
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 37 of 129 Page ID #:279
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 18



766                  account, you’ve never saved anything into your Mega account?
767
768   VIDAL:         Uh-uh.
769
770   SA RUIZ:       Okay. You just look at the links that are shared on the platforms?
771
772   VIDAL:         Mm-hmm.
773
774   SA RUIZ:       Okay. Now, when it comes to the platforms that you use to view child
775                  pornography, what are those platforms? What are all the platforms that you -
776                  we’ve talked about Dropbox. We’ve talked about Mega. What are the other
777                  ones? Where are these links coming from?
778
779   VIDAL:         Those all come from a website called Omegle.
780
781   SA RUIZ:       Okay
782
783   VIDAL:         That’s where people have shared them and sent them.
784
785   SA RUIZ:       Okay. Omegle? Is there an app for Omegle, or is it just a website?
786
787   VIDAL:         No. It’s a website.
788
789   SA RUIZ:       Okay. Do you - and Omegle I believe do you have to register an account on
790                  Omegle?
791
792   VIDAL:         Yeah.
793
794   SA RUIZ:       Okay so you just go into these rooms. Is it random? Is it something - a room
795                  you’re searching for?
796
797   VIDAL:         Yeah, it’s a specific room.
798
799   SA RUIZ:       Okay, and what are the search terms? Because this helps us find, you know,
800                  people that are going to these - for going into these rooms. What are some of
801                  the search terms you use in Omegle?
802
803   VIDAL:         Like, I’m - I’m, like, ashamed to say this but it’s things like young porn.
804
805   SA RUIZ:       Okay.
806
807   VIDAL:         There’s also teen porn.
808
809   SA RUIZ:       Okay.
810


                                                                                              USA_000939
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 38 of 129 Page ID #:280
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 19



811   VIDAL:         And I’ll be honest with you, like, I’m - I feel ashamed even saying these
812                  things. There’s young sex, teen sex. What else? There’s also trade links.
813
814   SA RUIZ:       Okay.
815
816   VIDAL:         Use that word.
817
818   SA RUIZ:       Okay.
819
820   VIDAL:         Trade links.
821
822   SA RUIZ:       Trade links? Okay.
823
824   VIDAL:         Trade nudes, sent links.
825
826   SA RUIZ:       Trade what?
827
828   VIDAL:         Trade nudes.
829
830   SA RUIZ:       Trade nudes and send nudes? Okay.
831
832   VIDAL:         Yeah, honestly, like...
833
834   SA RUIZ:       Any acronyms?
835
836   VIDAL:         No.
837
838   SA RUIZ:       Okay. So that’s Omegle. Have you - how many times would you approximate
839                  you sent links to downloadable child pornography files either through
840                  Dropbox or housed on Mega?
841
842   VIDAL:         To send?
843
844   SA RUIZ:       Yeah, like posted a link to Omegle?
845
846   VIDAL:         What? I’m confused?
847
848   SA RUIZ:       So these links, you’re seeing them on Omegal, correct?
849
850   VIDAL:         Mm-hmm.
851
852   SA RUIZ:       Have you ever taken that link and posted it to another room?
853
854   VIDAL:         No, I shared them with other people.
855


                                                                                              USA_000940
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 39 of 129 Page ID #:281
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 20



856   SA RUIZ:       Individually-
857
858   VIDAL:         On the website - on the website.
859
860   SA RUIZ:       In groups or just individually, one-on-one conversations you shared them?
861
862   VIDAL:         Mm-hmm.
863
864   SA RUIZ:       Were they Mega links, Drop links, or both?
865
866   VIDAL:         Yeah, both.
867
868   SA RUIZ:       Both?
869
870   VIDAL:         Mega and Dropbox.
871
872   SA RUIZ:       Okay. Now these these files from Mega and Dropbox, what is the content. If
873                  you could describe out content, a description of the content that is housed in
874                  these, what is it? Are they - an individual that I spoke to the other day is only
875                  into infants so all of his his folders that he would send links to our children
876                  under, like, 18 months. And then there’s, you know, people who are into, like,
877                  very specific ages. 12 years old to 13 years old, no pubic hair but a little bit of
878                  breast development, for example. What are some of the - what is the
879                  description of content that you’re sending the links, like what’s in them?
880
881   VIDAL:         So the ones that I’ve seen, the ones that I never created, those?
882
883   SA RUIZ:       Just the links that you sent out.
884
885   VIDAL:         Yeah.
886
887   SA RUIZ:       Okay.
888
889   VIDAL:         Those are the ones so those contained, like, all ages, like, sometimes infant to
890                  17.
891
892   SA RUIZ:       Okay.
893
894   VIDAL:         But I was never into, like, the infant stuff.
895
896   SA RUIZ:       Okay.
897
898   VIDAL:         But that’s what it contained. So there was, like, a variety.
899
900   SA RUIZ:       Okay. So and again you said you didn’t create these folders but the link that


                                                                                               USA_000941
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 40 of 129 Page ID #:282
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 21



901                  you sent to these folders contained anything from infant up to 17?
902
903   VIDAL:         Mm-hmm.
904
905   SA RUIZ:       Okay. Did you ever save any of that content to the tablet, to your phone, SD
906                  card in the phone, a memory card outside, external hard drive?
907
908   VIDAL:         I have, but I deleted them.
909
910   SA RUIZ:       Okay. And we’ll get into what - what they are on and the reason why I say
911                  that is because even though it’s deleted from a device, it stays in unallocated
912                  space on a device and we want to make sure that that information is not
913                  accessible.
914
915   VIDAL:         Mm-hmm.
916
917   SA RUIZ:       Okay, so links, drop, and mega, infant to 17. Okay what about other platforms
918                  besides Omegle,
919
920   VIDAL:         That’s the only platform I’ve known how to use and that’s the only one I used.
921
922   SA RUIZ:       Well you mentioned, I think you said Kik when you first started.
923
924   VIDAL:         Yeah, that’s - that’s kind of like a social app.
925
926   SA RUIZ:       Okay. Well that, again, that’s the same thing when I say platform I’m - I don’t
927                  want - I don’t want to say tell me the website and then you’re only giving me
928                  websites when we have applications, we have - I know a guy who only does
929                  everything in person. He meets people on Craigslist and trades. So whatever
930                  platform or engagement you have where you’ve seen this material, you
931                  mentioned Kik. Do you still use Kik?
932
933   VIDAL:         No. When was the last time you used Kik for child pornography?
934
935   VIDAL:         It was a long time ago.
936
937   SA RUIZ:       Okay.
938
939   VIDAL:         It was - I don’t - I don’t know what specific month, but it was, like, a while
940                  back.
941
942   SA RUIZ:       Okay.
943
944   VIDAL:         Maybe I want to say last - sometime last year.
945


                                                                                               USA_000942
      Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 41 of 129 Page ID #:283
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 22



946   SA RUIZ:       Okay. It was - it sounds like it was one of the first platforms-
947
948   VIDAL:         Yeah.
949
950   SA RUIZ:       Is that right? Okay.
951
952   VIDAL:         Right.
953
954   SA RUIZ:       Do you remember what your username was at the time?
955
956   VIDAL:         No, I don’t
957
958   SA RUIZ:       Okay. How many Kik accounts have you had?
959
960   VIDAL:         Honestly, I probably had, like, four or five but I deleted probably, like, them
961                  all because, like, I said, I felt guilty and then I deleted it.
962
963   SA RUIZ:       Okay.
964
965   VIDAL:         And then I went back to it. And then I deleted it.
966
967   SA RUIZ:       Okay.
968
969   VIDAL:         It was kind of, like, an on and off process.
970
971   SA RUIZ:       Okay. And I’ve heard that before too. It’s not uncommon. When it comes to
972                  Kik, what are some of the terms you would use to find either people or rooms
973                  that are engaging in child pornography trading?
974
975   VIDAL:         So what I did is I went to a website Omegle.
976
977   SA RUIZ:       Okay.
978
979   VIDAL:         And people would say do you have stuff that you want to trade and I would
980                  say yes I did or links that I want to trade but then I would go - we’ll use the
981                  app, Kik, and that’s where we would talk. So in Kik I don’t necessarily search
982                  for people but rather people from Omegle, that’s where I found them.
983
984   SA RUIZ:       Okay. And kind of walk me through. How do you go from Omegle to Kik
985                  aside, you know, there’s - is there - because there are two different companies.
986                  How do you - how do you know to find the person who posted this, I guess,
987                  ad or solicitation on Omegle to the specific Kik person and/or room? Are they
988                  giving you usernames, or rooms, or codes, or?
989
990   VIDAL:         No. So what they do, or what I’ve done in the past is that once I find someone


                                                                                              USA_000943
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 42 of 129 Page ID #:284
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 23



 991                  who has, like, content that they want to trade, like, websites or pictures or
 992                  whatnot, they would say let’s go to Kik and trade over there.
 993
 994   SA RUIZ:       Okay.
 995
 996   VIDAL:         That’s what they would call it.
 997
 998   SA RUIZ:       Okay.
 999
1000   VIDAL:         And send and so we would exchange usernames.
1001
1002   SA RUIZ:       Oh, okay.
1003
1004   VIDAL:         Yeah.
1005
1006   SA RUIZ:       So you would give each other your own Kik username?
1007
1008   VIDAL:         Yeah.
1009
1010   SA RUIZ:       Okay. So there’s no Kik codes, QR codes, or anything like that you saved?
1011
1012   VIDAL:         Not that I know of, but I’ve heard about them.
1013
1014   SA RUIZ:       Okay. So that’s how you go from Kik so Omegle to Kik, basically. Okay.
1015                  What about other platforms?
1016
1017   VIDAL:         There’s also been Snapchat.
1018
1019   SA RUIZ:       Okay.
1020
1021   VIDAL:         That’s also, like, the ones that - that got deleted, that’s where I’ve done, like,
1022                  the trading as well. So the same thing with Kik has also been was Snapchat.
1023
1024   SA RUIZ:       Okay. How many Snapchat accounts have you had?
1025
1026   VIDAL:         Okay, I want to say around six.
1027
1028   SA RUIZ:       Okay.
1029
1030   VIDAL:         Two of them are deleted.
1031
1032   Q2:            Where they shut down? Or did you delete them?
1033
1034   VIDAL:         Yeah, they were shut down.
1035


                                                                                                USA_000944
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 43 of 129 Page ID #:285
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 24



1036   SA RUIZ:       They were shut down. Two - Two were deleted. Do you remember those
1037                  ones? I just want to make sure that those leads don’t go to another office for
1038                  enforcement.
1039
1040   VIDAL:         So the one that got deleted it’s called I want to say ).
1041
1042   SA RUIZ:       Josh?
1043
1044   VIDAL:         Yeah, Josh7CSUSB1 one. I think. I’m not 100 percent sure.
1045
1046   SA RUIZ:       Okay. And what’s the other one?
1047
1048   VIDAL:         It’s I-T-S.
1049
1050   SA RUIZ:       I-T-S?
1051
1052   VIDAL:         J-A-Y-G-E and I can’t remember the last one. The last one is a number. I’m
1053                  not sure if it’s - I’m not sure if it’s 1. I think it’s, so the username was - I’m
1054                  not sure if it’s 8 then it’s called, it’s JAYGEE1 or its JAYGEE2.
1055
1056   SA RUIZ:       Okay, so and a number.
1057
1058   VIDAL:         JAYGEE3? Yeah and I’m not sure what number it is.
1059
1060   SA RUIZ:       You said it’s JAY and then it was G E E? Or just one E?
1061
1062   VIDAL:         G-E-E.
1063
1064   SA RUIZ:       Okay. Just like your email then?
1065
1066   VIDAL:         Can I see?
1067
1068   SA RUIZ:       Yeah, I think so. It’s JAY GEE with two E’s and then I’ll put and a number?
1069                  Okay.
1070
1071   VIDAL:         Mm-hm.
1072
1073   SA RUIZ:       Okay, okay. Now, those are two accounts that got shut down and you have
1074                  approximately you said six?
1075
1076   VIDAL:         Yeah, six.
1077
1078   SA RUIZ:       Okay.
1079
1080   A2:            Of them I used. And then two of them which I don’t use a lot but probably -


                                                                                                USA_000945
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 44 of 129 Page ID #:286
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 25



1081                  I’ve probably used them before but then I stopped for a little bit, like, I’ve
1082                  only used it a few times.
1083
1084   SA RUIZ:       Okay. These - so there’s four other Snapchat accounts it sounds like that are
1085                  currently open?
1086
1087   VIDAL:         Yeah.
1088
1089   SA RUIZ:       Let’s start with the ones that you don’t use. Were those previously used for
1090                  child pornography?
1091
1092   VIDAL:         The ones that I don’t use, one of them, no.
1093
1094   SA RUIZ:       Okay which one is that?
1095
1096   VIDAL:         I don’t even know their names.
1097
1098   SA RUIZ:       Okay. Do you know any of the names of those remaining four accounts?
1099
1100   VIDAL:         Yeah. One of them is, what is it called? One of them is, hold on I’m trying to
1101                  remember.
1102
1103   SA RUIZ:       Take your time, man.
1104
1105   VIDAL:         I think it’s - one of them is called firstlast6543, I think? I think.
1106
1107   SA RUIZ:       Okay. Possibly. Okay. Is this one that was used for child pornography?
1108                  Whether it’s to receive or send out?
1109
1110   VIDAL:         I think, I think so..
1111
1112   SA RUIZ:       Okay. Is this the one that your phone is currently logged into?
1113
1114   VIDAL:         I want to say yes.
1115
1116   SA RUIZ:       Okay.
1117
1118   VIDAL:         But hold on - it’s either yes or no. One of them.
1119
1120   SA RUIZ:       Right.
1121
1122   VIDAL:         I don’t think it’s - no. I don’t think it’s logged in.
1123
1124   SA RUIZ:       Okay, not logged in?
1125


                                                                                                 USA_000946
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 45 of 129 Page ID #:287
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 26



1126   VIDAL:         But I’m not sure.
1127
1128   SA RUIZ:       Okay.
1129
1130   VIDAL:         It could be yes or no.
1131
1132   SA RUIZ:       Okay. What’s the other one besides FirstLast643?
1133
1134   VIDAL:         There’s also I think it’s EPIC.JOSH or JOSHUA2020. I’m not sure if it’s Josh
1135                  or Joshua. It’s one of them. EPIC.JOSHUA2020. I think it’s Joshua.
1136
1137   SA RUIZ:       JOSHUA2020?
1138
1139   VIDAL:         Yeah. EPIC.JOSHUA2020.
1140
1141   SA RUIZ:       And that one is the one you think your phone might be connected to now?
1142
1143   VIDAL:         Yeah.
1144
1145   SA RUIZ:       Is that when used for child pornography?
1146
1147   VIDAL:         Yeah.
1148
1149   SA RUIZ:       Okay. Now, when was the last time you were on that account?
1150
1151   VIDAL:         Either yesterday or two days ago.
1152
1153   SA RUIZ:       Okay. Yesterday or two days ago did you see child pornography on that
1154                  account?
1155
1156   VIDAL:         No.
1157
1158   SA RUIZ:       No?
1159
1160   VIDAL:         No, I don’t want to. No. Yeah.
1161
1162   SA RUIZ:       Okay.
1163
1164   VIDAL:         But I’m - I’m, you know, unfortunately I hate to say this but I - I did have
1165                  links there that I had gotten from other people.
1166
1167   SA RUIZ:       Are they saved in the conversations?
1168
1169   VIDAL:         Mm-hmm.
1170


                                                                                               USA_000947
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 46 of 129 Page ID #:288
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 27



1171   SA RUIZ:       Okay. That’s fine. I would rather know ahead of time so that I’m not
1172                  representing, you know, hey, it looks, like, he’s being, like, he’s hiding
1173                  something, you know what I mean? Because what’s on there is going to be on
1174                  there, you know? So I’d rather have you be honest about it versus lie and,,
1175                  like, I said, I’ll reiterate. A lot of - a lot of times people say, yeah, I haven’t
1176                  logged into that thing for, like, months and then the application stores logins
1177                  and we find that, hey, not only has it been this morning but we’ve got, like, 40
1178                  logins in the morning. So it is what it is. I just want you to understand that
1179                  lying about it only makes things worse, right? So epic- EPIC.JOSHUA2020 is
1180                  a Snapchat account that you believe your phone that is the newer phone, the
1181                  Samsung –
1182
1183   VIDAL:         7
1184
1185   SA RUIZ:       7. And does your phone have, like, your - what does it look like? Just so I can
1186                  separate it from everything else?
1187
1188   VIDAL:         It’s black.
1189
1190   SA RUIZ:       Okay. Doesn’t have any stickers? Does it have a case?
1191
1192   VIDAL:         Yeah, a black cover.
1193
1194   SA RUIZ:       Black cover.
1195
1196   VIDAL:         Mm-hmm.
1197
1198   SA RUIZ:       Okay. Doesn’t have any stickers or anything on it? What’s the home screen
1199                  look like? Does it have your name on it? Is it a picture of, I don’t know,
1200                  football team, baseball team?
1201
1202   VIDAL:         You know what, I’ll be honest with you, I can’t even - I don’t even pay
1203                  attention to that.
1204
1205   SA RUIZ:       Okay. Where is it and that way they can separate it.
1206
1207   VIDAL:         It’s in my room.
1208
1209   SA RUIZ:       Okay. Where at? Desk? Bed? Is it charging?
1210
1211   VIDAL:         I left - okay, so when I went to sleep I left it on my desk and then when the
1212                  whole stuff what happened I was - I don’t know where I put it now.
1213
1214   SA RUIZ:       Okay. Did you hide it? Did - did you stash it somewhere?
1215


                                                                                               USA_000948
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 47 of 129 Page ID #:289
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 28



1216   VIDAL:         No. It should be on my desk.
1217
1218   SA RUIZ:       Okay. So where is it - there’s that phone, which is the S7?
1219
1220   VIDAL:         Mm-hmm.
1221
1222   SA RUIZ:       Samsung 7? Where is the old phone?
1223
1224   VIDAL:         The old phone.
1225
1226   SA RUIZ:       Closet? Desk drawer? Bed?
1227
1228   VIDAL:         Okay, that one I used to have it in my - in my desk, like, I hide it. Because I
1229                  didn’t want anyone to know I had it. But I haven’t use that one because it’s,
1230                  like, the batteries dead.
1231
1232   SA RUIZ:       Doesn’t have to stay plugged into use it?
1233
1234   VIDAL:         Yeah.
1235
1236   SA RUIZ:       Okay.
1237
1238   VIDAL:         But then I don’t use it anymore right now.
1239
1240   SA RUIZ:       Okay. How - when was the last time you used it?
1241
1242   VIDAL:         I want to say last month.
1243
1244   SA RUIZ:       Okay. Doesn’t have anything on it?
1245
1246   VIDAL:         No.
1247
1248   SA RUIZ:       Okay. You wiped it, but there’s, okay, doesn’t have a memory card in it?
1249
1250   VIDAL:         I think it might, yes.
1251
1252   SA RUIZ:       Okay. Anything saved to the memory card possibly?
1253
1254   VIDAL:         I have, yeah, some pictures but they’re, like, regular pictures.
1255
1256   SA RUIZ:       They are non--child pornography pictures? Okay. So the old phone might be
1257                  in the desk. So - and then we have your tablet. Where’s your tablet?
1258
1259   VIDAL:         The tablet also should be on my desk or my bed, I’m not sure where.
1260


                                                                                               USA_000949
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 48 of 129 Page ID #:290
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 29



1261   SA RUIZ:       Okay. Okay, so those are the three devices so far that we know has been used
1262                  or at least you’ve explained have been used for viewing child pornography.
1263                  Any other devices in the house? Meaning external hard drives, or thumb
1264                  drives, that even if they are no longer on it were used or saved to that device?
1265
1266   VIDAL:         Oh, I used to have an iPod.
1267
1268   SA RUIZ:       Okay.
1269
1270   VIDAL:         A small iPod.
1271
1272   SA RUIZ:       Okay, old-school. All right.
1273
1274   VIDAL:         But my brother destroyed it.
1275
1276   SA RUIZ:       Because he was being a dick or?
1277
1278   VIDAL:         No. He destroyed it.
1279
1280   SA RUIZ:       Okay. Why did he destroy it? Did he find something?
1281
1282   VIDAL:         Yeah.
1283
1284   SA RUIZ:       Okay. And - and that’s kinda what I also want to talk to you to. I want - I want
1285                  for people who do know I want to make sure they are in a position to help,
1286                  okay? When did - when did this event take place?
1287
1288   VIDAL:         For sure last year.
1289
1290   SA RUIZ:       Okay so early, beginning? Okay. And you’re talking about Emmanuel?
1291
1292   VIDAL:         Yeah.
1293
1294   SA RUIZ:       Okay.
1295
1296   VIDAL:         It happened sometime last year.
1297
1298   SA RUIZ:       Okay. And what did he - what was the image that he found that upset him?
1299
1300   VIDAL:         No, he didn’t see any images. He just saw the conversation I was having on
1301                  Omegle.
1302
1303   SA RUIZ:       Oh, okay - okay.
1304
1305   VIDAL:         That’s all. That’s - when he saw that conversation, he destroyed it.


                                                                                              USA_000950
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 49 of 129 Page ID #:291
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 30



1306
1307   SA RUIZ:       Okay. Who was the conversation with?
1308
1309   VIDAL:         With (unintelligible).
1310
1311   SA RUIZ:       But, no, with the Omegle conversation.
1312
1313   VIDAL:         Oh, it was with someone that I talked to on Omegle.
1314
1315   SA RUIZ:       Okay.
1316
1317   VIDAL:         But it never led to anything.
1318
1319   SA RUIZ:       Okay.
1320
1321   VIDAL:         It was just, like...
1322
1323   SA RUIZ:       Was he upset because it was a minor and it just looked bad?
1324
1325   VIDAL:         No. It was, like, with the - so I was talking to a person and then they were
1326                  considering, like, sharing pictures (unintelligible).
1327
1328   SA RUIZ:       Okay.
1329
1330   VIDAL:         And then I just end of the conversation. And so my brother, he saw that on my
1331                  iPod and he decided to destroy that when he saw it.
1332
1333   SA RUIZ:       Okay. Seems like a protective brother.
1334
1335   VIDAL:         Mm-hmm.
1336
1337   SA RUIZ:       Yeah. I can totally understand and I sympathize with that. I think that he
1338                  probably wants what’s best for you as well and that’s good to have those kind
1339                  of people in your life. That iPod, did it have child pornography on it at any
1340                  point? It sounds like you had access to Omegle links or links on it by way of
1341                  Omegle.
1342
1343   VIDAL:         Yes, (unintelligible).
1344
1345   SA RUIZ:       Okay. And so the reason why I bring this up is whether you save it or not
1346                  those kinds of images get cached onto those devices and we want to make sure
1347                  that, again, those items do not have anything on them. It’s not like you have to
1348                  click save for it to be on your phone. So the iPod, it’s destroyed? It’s in the
1349                  trash? It’s not even at this residence? Or, it’s just banged up in it somewhere
1350                  in your house?


                                                                                              USA_000951
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 50 of 129 Page ID #:292
                                                                               INTERVIEW WITH JOSUE VIDAL
                                                                                       Case # RV07QR20RV0014
                                                                Audio Recordings VN810011, VN810012, VN810013
                                                                                                       Page 31



1351
1352   VIDAL:         No, he told me that he destroyed it.
1353
1354   SA RUIZ:       Okay. So he took it from you and he said he destroyed it?
1355
1356   VIDAL:         Mm-hmm.
1357
1358   SA RUIZ:       Okay. And that was right when - last year sometime when all this kinda
1359                  started?
1360
1361   VIDAL:         No. It was, like, towards the end of last year.
1362
1363   SA RUIZ:       Okay.
1364
1365   VIDAL:         And I don’t know if it was, like, towards October, November, December or
1366                  January, February, March, or April. But it was - it’s kinda, like, I want to say
1367                  end of last year or beginning of this year.
1368
1369   SA RUIZ:       Okay.
1370
1371   VIDAL:         But it was a long time ago.
1372
1373   SA RUIZ:       So just so I can kinda keep things straight. So - and this first started you said
1374                  about January.
1375
1376   VIDAL:         Mm-hmm.
1377
1378   SA RUIZ:       Of 2019. And then in the end of that same year, possibly the earlier 2020, is
1379                  when he finds the iPod, is uncomfortable with it, destroys it and tells you?
1380
1381   VIDAL:         Okay.
1382
1383   SA RUIZ:       What other devices have been used to see, view, trade, send, distribute any
1384                  sort of child pornography images?
1385
1386   VIDAL:         I also had my old - old laptop. But I believe I deleted it. It’s, like, a - it’s a I
1387                  don’t know the brand of the laptop is, but it’s an old laptop.
1388
1389   SA RUIZ:       Okay. It’s the - hold on one second. Old laptop.
1390
1391   VIDAL:         But I’ve never - I’ve never talked to anyone on the old laptop, just...
1392
1393   SA RUIZ:       Just viewing material?
1394
1395   VIDAL:         Just viewing material and I kinda hate to say but even on that laptop I saved


                                                                                                  USA_000952
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 51 of 129 Page ID #:293
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 32



1396                  the content of those links.
1397
1398   SA RUIZ:       Okay.
1399
1400   VIDAL:         And then I deleted them.
1401
1402   SA RUIZ:       Okay. What laptop is it? Or where is that in your room and we can identify it
1403                  as the old one?
1404
1405   VIDAL:         It’s on the - inside one of my backpacks.
1406
1407   SA RUIZ:       - Okay. Is that a backpack you take with you every day, or?
1408
1409   VIDAL:         No.
1410
1411   SA RUIZ:       It’s just, okay. It’s in a backpack.
1412
1413   VIDAL:         And I believe everything should be deleted, I believe.
1414
1415   SA RUIZ:       Okay. When you say deleted is that you - you go to the file where it saved and
1416                  then you delete it and it goes to the recycle bin.
1417
1418   VIDAL:         And then I delete it from there.
1419
1420   SA RUIZ:       From the recycle bin. Okay. What - was it in a special folder? Was it
1421                  encrypted? Was it in...
1422
1423   VIDAL:         No, it was not encrypted.
1424
1425   SA RUIZ:       Okay. What was the folder that everything was saved in?
1426
1427   VIDAL:         There were several folders but they were on the downloads.
1428
1429   SA RUIZ:       Okay so it’s - it’s, okay. And where were they being downloaded from?
1430
1431   VIDAL:         From the - from the Dropbox or the Omegle. I mean the Dropbox or the
1432                  Mega, but there’s an option to download.
1433
1434   SA RUIZ:       Okay. How were you getting from on your laptop, since you don’t have Kik or
1435                  Snapchat on it, right?
1436
1437   VIDAL:         Mm-hmm.
1438
1439   SA RUIZ:       How were you getting the links? Is it only through Omegle website on the
1440                  computer?


                                                                                               USA_000953
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 52 of 129 Page ID #:294
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 33



1441
1442   VIDAL:         I’ve used an email.
1443
1444   SA RUIZ:       Okay, so you - are you sending yourself the links? Via email?
1445
1446   VIDAL:         Yeah.
1447
1448   SA RUIZ:       Okay. And is it through both email accounts, or one email? Is it through the
1449                  JOSUE_VIDAL_ @YAHOO?
1450
1451   VIDAL:         No. I’ve never used that one.
1452
1453   SA RUIZ:       No? Not for links.
1454
1455   VIDAL:         No. I think I used a different email for-
1456
1457   SA RUIZ:       Is it different from JAYGEEVEEQ          @...
1458
1459   VIDAL:         I think it might be. I probably used another email. It’s called A-B-E
1460
1461   SA RUIZ:       A-A-B?
1462
1463   VIDAL:         No - no -no, A-B-E.
1464
1465   SA RUIZ:       A-B-E.
1466
1467   VIDAL:         I’ve used - don’t delete the old one.
1468
1469   SA RUIZ:       Oh, it’s, uh, so here’s - here’s what we do. I’ll do this. Let me just give this to
1470                  you to write down. That might be the easiest way so that I don’t butcher it.
1471
1472   VIDAL:         So this is another email that...Okay, I think it was...
1473
1474   SA RUIZ:       And while you’re there, why don’t you just write them out so that I don’t jack
1475                  up the other ones. Whatever other emails you have. Put your JAYGEE one
1476                  down there, your Josue one, and any others you can think of while - while I’m
1477                  there, since you have it already.
1478
1479   VIDAL:         I know I have other emails but I can’t think of the username.
1480
1481   SA RUIZ:       Okay.
1482
1483   VIDAL:         Can’t think of the other emails.
1484
1485   SA RUIZ:       Okay. If you want, just so I have it, clear, write your Josue one down and the


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 53 of 129 Page ID #:295
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 34



1486                  other one, the JAYGEE one.
1487
1488   VIDAL:         Those are the only emails that I memorized.
1489
1490   SA RUIZ:       Okay.
1491
1492   VIDAL:         And the other ones I haven’t memorized.
1493
1494   SA RUIZ:       Okay.
1495
1496   VIDAL:         Wait. I think I remembered one.
1497
1498   SA RUIZ:       Oh.
1499
1500   VIDAL:         I think.
1501
1502   SA RUIZ:       No, that’s okay.
1503
1504   VIDAL:         Let me write this down.
1505
1506   SA RUIZ:       That will just help us keep this conversation straight, that’s all.
1507
1508   VIDAL:         And I’m not 100 percent sure this is correct. I’m not sure if that was Gmail. I
1509                  just put little arrows saying I’m not sure if this is correct.
1510
1511   SA RUIZ:       Okay. That’s fine. So we have the tablet, the two phones, the old Samsung in
1512                  the new Samsung.
1513
1514   VIDAL:         The iPod that was destroyed.
1515
1516   SA RUIZ:       The iPod that’s destroyed. And then the old laptop.
1517
1518   VIDAL:         Mm-hmm.
1519
1520   SA RUIZ:       Any other - and of course, may be the memory cards within the devices, like,
1521                  is there a memory card in the tablet in the phones?
1522
1523   VIDAL:         The tablet, there should be, yes.
1524
1525   SA RUIZ:       Okay and it might’ve been saved in there as well it sounds like?
1526
1527   VIDAL:         I think I saved some before but I haven’t downloaded a large amount of stuff.
1528
1529   SA RUIZ:       Okay. So it might be in there, it might not.
1530


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 54 of 129 Page ID #:296
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 35



1531   VIDAL:         Hopefully it’s deleted.
1532
1533   SA RUIZ:       What about any other external devices, hard drives, thumb drives?
1534
1535   VIDAL:         I don’t know, what’s a thumb drive?
1536
1537   SA RUIZ:       You know, a little memory sticks. Just the small ones that go in, versus a big
1538                  hard drive.
1539
1540   VIDAL:         Oh, no - no - no, not even. I haven’t used that. I’ve only used the memory -
1541                  memory sticks.
1542
1543   SA RUIZ:       Of the small, like, SD cards? Okay. What about the - there’s a blue one,
1544                  there’s a bigger one that’s, like, usually in cameras, there are the regular SD
1545                  cards in your room. I don’t know what your tablet takes, if some of them use
1546                  the micro SDs which are the real tiny ones, like, a thumbnail. Is that what
1547                  you’re referring to? Those are the ones you - okay. Not the bigger ones that
1548                  are, like, in a camera?
1549
1550   VIDAL:         No.
1551
1552   SA RUIZ:       Like an old point and shoot? Okay. The online devices of course or at least
1553                  platforms, the Snapchat, Mega, which you may have an account. Dropbox you
1554                  do have an account. But think that you’ve deleted it. Have you ever - have you
1555                  ever met with anyone from Omegle or any other platform-
1556
1557   VIDAL:         No.
1558
1559   SA RUIZ:       in person to exchange child pornography or talk about...
1560
1561   VIDAL:         No, it was all online.
1562
1563   SA RUIZ:       It was all online? Okay. So you don’t know anybody personally.
1564
1565   VIDAL:         Uh-uh.
1566
1567   SA RUIZ:       Okay. Have you ever shown anybody these images before in person?
1568
1569   VIDAL:         No.
1570
1571   SA RUIZ:       Okay. Just - just online trading images and that’s it?
1572
1573   VIDAL:         Mm-hmm.
1574
1575   SA RUIZ:       Okay. Now, when forensics goes through the folders that were saved to the


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 55 of 129 Page ID #:297
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 36



1576                  computer I - I don’t want them to be what is described as sort of your
1577                  collection, although it was collected at one point. What was the age range in
1578                  which you are seeking online, in rough terms, meaning youngest to oldest and
1579                  what genre, boys, girls, you know, what was it that - that you were saving,
1580                  typically?
1581
1582   VIDAL:         So the ones that I was mostly saving were girls from, like, 10 and older.
1583
1584   SA RUIZ:       Okay.
1585
1586   VIDAL:         That’s, um, I was, I don’t know why I’m saying saving these things for but I
1587                  was, like, really into that stuff, you know, like I said, when I first saw it was a
1588                  14-year-old that girl I didn’t know about so I would say that was the age
1589                  mostly I was looking for.
1590
1591   SA RUIZ:       Okay.
1592
1593   VIDAL:         They - those are the ones that I was saving to my laptop and then that - that I
1594                  deleted.
1595
1596   SA RUIZ:       The old laptop?
1597
1598   VIDAL:         Mm-hmm.
1599
1600   SA RUIZ:       Okay. So as young as around 10? And then were we, like, as old as, like, 13,
1601                  like, pre-pubescent? No pubic hair, pubic hair, or what?
1602
1603   VIDAL:         Yeah.
1604
1605   SA RUIZ:       Okay - okay. So approximate age 10 to what?
1606
1607   VIDAL:         I’ve also seen some older. I’m not sure that also counts.
1608
1609   SA RUIZ:       Everything counts. I mean, I don’t want to mischaracterize. You know, I’m
1610                  not here to make you look like somebody who’s only interested in, you know,
1611                  infants. I’m here to tell the truth.
1612
1613   VIDAL:         Yeah.
1614
1615   SA RUIZ:       So 10 to what? When it relates to child pornography, because adult
1616                  pornography, you know, what you’re into - you’re into and there’s - I’m the
1617                  last person to be judging you on things that are legal like that. And I’m not
1618                  here to judge you on anything, really, I’m just here to get the facts. But, when
1619                  it comes to the images depicting minors, either engaged in a sex act or
1620                  displaying themselves nude, lascivious display of the genitals, you know,


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 56 of 129 Page ID #:298
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 37



1621                  close-ups of - of whether it’s a penis or vagina or anus or whatever, 10 to
1622                  about what?
1623
1624   VIDAL:         17.
1625
1626   SA RUIZ:       17? Okay. And just girls?
1627
1628   VIDAL:         Mm-hmm.
1629
1630   SA RUIZ:       Okay. The images that you did save, were there any videos?
1631
1632   VIDAL:         There were, yes.
1633
1634   SA RUIZ:       Okay.
1635
1636   VIDAL:         There were videos.
1637
1638   SA RUIZ:       And what kind of videos, what are they engaged in - in the videos?
1639
1640   VIDAL:         Usually, like, masturbation, sometimes sex. Yeah, masturbation videos,
1641                  having sex, and pictures of, like, them showing themselves.
1642
1643   SA RUIZ:       Okay. So they are displaying themselves, they are engaged in sex acts. With
1644                  men, women, or just masturbation?
1645
1646   VIDAL:         Both.
1647
1648   SA RUIZ:       Okay. Adults? Or...
1649
1650   VIDAL:         Yes.
1651
1652   SA RUIZ:       ...minors, or both?
1653
1654   VIDAL:         Both.
1655
1656   SA RUIZ:       Okay. Vaginally, anal?
1657
1658   VIDAL:         Yes.
1659
1660   SA RUIZ:       Oral?
1661
1662   VIDAL:         Both.
1663
1664   SA RUIZ:       Okay. That’s typical. Do you use encryption at all?
1665


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 57 of 129 Page ID #:299
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 38



1666   VIDAL:         No.
1667
1668   SA RUIZ:       No encrypted volumes?
1669
1670   VIDAL:         No.
1671
1672   SA RUIZ:       Okay. What about your browsers? What kind of browsers are you using?
1673
1674   VIDAL:         I’ve used Google Chrome.
1675
1676   SA RUIZ:       Okay, so Google Chrome?
1677
1678   VIDAL:         Most of, I would say 99 percent Google Chrome and I’ve used Internet
1679                  Explorer, like, 3 times.
1680
1681   SA RUIZ:       Okay. So Google Chrome preferred. Any, like, privacy, like, are you using
1682                  incognito or are you using?
1683
1684   VIDAL:         Incognito.
1685
1686   SA RUIZ:       Okay. Do you save any of these chats, other than what was on your - on your
1687                  iPod that one time, did you - do you save any of these chats, or are you just
1688                  copying and pasting links to emails?
1689
1690   VIDAL:         Yeah, copying - copy and paste the links.
1691
1692   SA RUIZ:       Okay, so you’re not screen shotting?
1693
1694   VIDAL:         Uh-uh.
1695
1696   SA RUIZ:       On any of that?
1697
1698   VIDAL:         I probably - I know that I’ve saved some conversations, but I don’t recall what
1699                  the conversations were about.
1700
1701   SA RUIZ:       Okay. Do you recall why you saved them?
1702
1703   VIDAL:         I guess because they were interesting or because they probably had - I think I
1704                  probably saved conversations that had the links because I...
1705
1706   SA RUIZ:       To go to them later?
1707
1708   VIDAL:         Yeah.
1709
1710   SA RUIZ:       Okay. Any other devices that you can think of? Hidden, wireless drives, I


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 58 of 129 Page ID #:300
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 39



1711                  mean, there’s a whole team in there. They’re going to conduct a search and
1712                  I’m hoping that there isn’t anything you, like, forget about because I don’t
1713                  want to have to, like, revisit conversations later on and have this awkward,
1714                  you know, I don’t know that you’re telling me the whole truth kind of spiel.
1715                  Any - any - anything else that you can think of that has this - that ever had this
1716                  kind of material on it that we haven’t already discussed?
1717
1718   VIDAL:         I don’t think so. I don’t recall any other...
1719
1720   SA RUIZ:       Never went on Omegle on your school laptops?
1721
1722   VIDAL:         No.
1723
1724   SA RUIZ:       Okay.
1725
1726   VIDAL:         Hold on here so, for my school laptops, I did just for a conversation but never
1727                  to, like, download anything.
1728
1729   SA RUIZ:       Okay. What kind of conversations though? Were they involved, like, CP
1730                  conversations? Child pornography conversations but you didn’t go to the...
1731
1732   VIDAL:         No, just regular conversations.
1733
1734   SA RUIZ:       On Omegle?
1735
1736   VIDAL:         Mm-hmm.
1737
1738   SA RUIZ:       Okay. What kind of - what are the regular conversations? Because those are
1739                  important to. What our regular conversations on Omegle about?
1740
1741   VIDAL:         So, regular would be, like, talking to people, like, how are you, you know,
1742                  where are you from?
1743
1744   SA RUIZ:       Okay.
1745
1746   VIDAL:         Just regular conversations.
1747
1748   SA RUIZ:       With just strangers?
1749
1750   VIDAL:         Yeah, with strangers.
1751
1752   SA RUIZ:       Okay, anonymous.
1753
1754   VIDAL:         Mm-hmm.
1755


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 59 of 129 Page ID #:301
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 40



1756   SA RUIZ:       And so I can separate it, what is the school laptops? What is it? I know you
1757                  have three, pick one of them. What’s the first one? Was it a Gateway, is it a
1758                  Dell?
1759
1760   VIDAL:         It’s a Dell.
1761
1762   SA RUIZ:       Okay.
1763
1764   VIDAL:         Another one’s a Chromebook and the other one is, I think it’s a Dell as well.
1765                  My old laptop.
1766
1767   SA RUIZ:       Okay.
1768
1769   VIDAL:         I mean it’s the school’s old laptop.
1770
1771   SA RUIZ:       The school’s old - okay. Is that one that - do they all function?
1772
1773   VIDAL:         Yes.
1774
1775   SA RUIZ:       Is there a reason why you have three versus just one?
1776
1777   VIDAL:         Well, I’m brought all of them from school just, you know, so I could have
1778                  them with me and two of them I use.
1779
1780   SA RUIZ:       Okay.
1781
1782   VIDAL:         The other ones, like, an old one which is really - really slow.
1783
1784   SA RUIZ:       Okay. So there’s an old - I think you said the old Dell?
1785
1786   VIDAL:         Mm-hmm.
1787
1788   SA RUIZ:       Okay. And so you use the Chromebook and the Dell currently. Are they in the
1789                  same bag? Are they - you keep...
1790
1791   VIDAL:         In the same bag.
1792
1793   SA RUIZ:       Okay. Storage devices with them as well? Do you have external media with
1794                  them, like, a external hard drive or anything?
1795
1796   VIDAL:         No. For the school laptops? No.
1797
1798   SA RUIZ:       Okay. What about passwords for those so they can preview them and...
1799
1800   VIDAL:         Yes.


                                                                                               USA_000961
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 60 of 129 Page ID #:302
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 41



1801
1802   SA RUIZ:       What is it?
1803
1804   VIDAL:         They both have passwords.
1805
1806   SA RUIZ:       That’s the one you gave me earlier? The, let me make sure I have it.
1807
1808   VIDAL:         The J-E-M.
1809
1810   SA RUIZ:       J-E-M-P-N-M-F-23.1?
1811
1812   VIDAL:         Yes.
1813
1814   SA RUIZ:       In fact, I’ll have - let me have you write that to just so I jack that up. Thank
1815                  you. Okay. So forensics will look at some of the devices. Some of the stuff
1816                  they may not be able to preview here but they’re going to try. What - we
1817                  talked about briefly, initially, was my intent to try to take over or desire to
1818                  take over the accounts used for trading images involving child pornography.
1819                  Some of these platforms have and to end encryption. Do you know what that
1820                  is?
1821
1822   VIDAL:         No.
1823
1824   SA RUIZ:       So that only the user and the recipient actually get the contents and, like, in a
1825                  file, like, an image file for example if there is metadata, meaning GPS
1826                  coordinates or make and model of the camera or even registration information
1827                  of the camera, that information is in a photo that is only visible by the sender
1828                  and the receiver. It isn’t something I can intercept as it’s being transmitted and
1829                  so that’s why taking over accounts is helpful. If a few of the users - and I
1830                  expect, if you’ve never met these people in person, I wouldn’t expect you to
1831                  know who these people are. We have a handful of users that we are trying to
1832                  identify who we believe not only are producing material but are profiteering
1833                  from it. Meaning they are sending this material out and sending it with links
1834                  and actually making money off of these referrals. So these are some of the
1835                  people we want to identify and locate and a lot of times the way we do that is
1836                  people liked yourself who have already engaged users and earned the trust of
1837                  people who are engaging in this type of trading we take over their accounts.
1838                  It’s completely voluntary. It’s something that you make that decision on your
1839                  own if you allow us to do it. But what we do is we will go into the account,
1840                  we would sign in, pretend to be you and try to gather that data and and exploit
1841                  it. It would require, like, let’s take Snapchat for example. The one account,
1842                  the, I think you said, Josh1, you know, what was it?
1843
1844   VIDAL:         Josh 7.
1845


                                                                                               USA_000962
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 61 of 129 Page ID #:303
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 42



1846   SA RUIZ:       Josh7CSUSB1, the password, if it was registered with an email, you know, we
1847                  don’t necessarily need the email to access it but we would need to - want to
1848                  change it - we would change the password so you would have no access to
1849                  that account from this day forward nor would you be held accountable for the
1850                  - for the activity that took place from that point forward. But we would exploit
1851                  that and we would search for people who were - who were profiteering in
1852                  engaging in this kind of behavior as well. It sounds like there were quite a few
1853                  handles and we do work with some companies like Kik in Snapchat to recover
1854                  shutdown accounts for that purpose so that we can open them back up and
1855                  pretend to be those people. But it does require your consent or the account
1856                  holder’s consent to do that. That form I have. Take your time looking at it. If
1857                  it’s something you are comfortable with letting us do what I would do then is
1858                  we would put the account here because, you know, you can have an account
1859                  and then register an email address. If the email address is not associated with
1860                  child pornography, I have no interest in taking it over. But, like, you know, we
1861                  would put Snapchat and we would use the username. It would say
1862                  Joshua7CSUSB1 and then we would need the password. Once I log into it you
1863                  would have no access to that account from here on out and likely never hear
1864                  about what happens from this point forward. Which is another reason why that
1865                  warrant that you have a sealed. The contents of the investigation is not public.
1866                  And it’s - I do that for a reason because I’m hoping people who are in your
1867                  situation do cooperate because I don’t want anybody else to find out that this
1868                  is how we got to you. Okay? Or that that’s how we found them is going back
1869                  to, you know, from this search warrant here. I want to keep it private. But that
1870                  is something that we do. In many cases, it’s how we identify the more
1871                  egregious individuals who are involved in hands-on offenses. So that
1872                  something that all have you look at and if you’re comfortable with I have
1873                  multiple forms because it sounds like you have multiple accounts we could do
1874                  multiple sheets here. But Kik and Snapchat, Omegle I don’t think there is an
1875                  account you - you...
1876
1877   VIDAL:         No.
1878
1879   SA RUIZ:       ...you create as much as you just login with a name. But that is something to
1880                  kind of consider. Before he move on to this, let me ask you have you ever
1881                  been accused of any inappropriate contact or had inappropriate contact with
1882                  any minors? Okay. Now some of the stuff we know. Some of the stuff we
1883                  know about, okay? I appreciate you at least being honest about it upfront,
1884                  okay? It’s sort of the kind of come to Jesus talk we have and so I’m hoping
1885                  kind of like a Band-Aid will just rip this off and get it - get it over with a we
1886                  can move on, okay? Go ahead and - when was it, how did it start, and what’s
1887                  happened since?
1888
1889   VIDAL:         Well, it all started with that video.
1890


                                                                                                USA_000963
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 62 of 129 Page ID #:304
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 43



1891   SA RUIZ:       About, in early 19, 2019? Okay.
1892
1893   VIDAL:         And since I was just watching the video I got very curious about what it
1894                  would be like actual, talking with a minor.
1895
1896   SA RUIZ:       You said, I’m sorry, talking? Or?
1897
1898   VIDAL:         Yeah.
1899
1900   SA RUIZ:       Okay.
1901
1902   VIDAL:         I was curious about what it would be like to talking with a minor.
1903
1904   SA RUIZ:       Okay.
1905
1906   VIDAL:         When I first started having contact with minors and this was in my Snapchat.
1907
1908   SA RUIZ:       The Josh7CSUSB?
1909
1910   VIDAL:         Yeah, one of them and the other was the one that I told you. The other one
1911                  that I deleted. That one I, unfortunately, I’ve done that before.
1912
1913   SA RUIZ:       Okay. You met up?
1914
1915   VIDAL:         No, not met up.
1916
1917   SA RUIZ:       You just - you just talked? That’s it?
1918
1919   VIDAL:         We talked and kinda sent and received images from her.
1920
1921   SA RUIZ:       Okay. You never met in person though?
1922
1923   VIDAL:         No.
1924
1925   SA RUIZ:       Okay. How old was - or what was the person’s name?
1926
1927   VIDAL:         This happened, like, a long time ago. I want to say Ava was one of them,
1928                  Morgan...
1929
1930   SA RUIZ:       Ava Morgan? Or Ava and Morgan?
1931
1932   VIDAL:         No, Ava and Morgan.
1933
1934   SA RUIZ:       Okay.
1935


                                                                                                 USA_000964
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 63 of 129 Page ID #:305
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 44



1936   VIDAL:         And these are all people that I met on Omegle, all of them.
1937
1938   SA RUIZ:       Okay. How old is Ava?
1939
1940   VIDAL:         16 I want to say.
1941
1942   SA RUIZ:       Okay, how old is Morgan?
1943
1944   VIDAL:         15 or 16.
1945
1946   SA RUIZ:       Okay. What area are they from?
1947
1948   VIDAL:         They were from the United States. One of them from New Hampshire the
1949                  other one I don’t remember what her state.
1950
1951   SA RUIZ:       And about how many videos just in general do you think you sent them and
1952                  they sent you, just in general, both nude and non-nude?
1953
1954   VIDAL:         I don’t know.
1955
1956   SA RUIZ:       Okay. Now what about pornographic ones? About how many of those do we
1957                  have? I did a bad job with that.
1958
1959   DET RODRIGUEZ: Sun is out here.
1960
1961   SA RUIZ:       Yeah, just a little bit. I just - I want to be able to pay attention to you. Sorry. A
1962                  little better.
1963
1964   VIDAL:         Those I don’t know, but…
1965
1966   SA RUIZ:       Less then ten? More than 100?
1967
1968   VIDAL:         No. I don’t think more than 100. No. I don’t know. But I I’ve sent, like, all the
1969                  same ones.
1970
1971   SA RUIZ:       And what kind of images. Lets talk about - the images you sent, what are
1972                  those of? Like, of the pornographic ones, what did those depict?
1973
1974   VIDAL:         (Unintelligible)?
1975
1976   SA RUIZ:       So let’s start with Ava. The images or videos that you sent, what were they
1977                  of? That are pornographic, what were they of?
1978
1979   VIDAL:         That I sent? Was of myself.
1980


                                                                                                USA_000965
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 64 of 129 Page ID #:306
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 45



1981   SA RUIZ:       Okay. Penis, buttocks, what?
1982
1983   VIDAL:         Penis.
1984
1985   SA RUIZ:       Okay. Just - just erect? And - or are you masturbating in them? Or?
1986
1987   VIDAL:         Okay. Are they - are they videos you sent?
1988
1989   VIDAL:         (Unintelligible)
1990
1991   SA RUIZ:       Okay. Did she reply with similar?
1992
1993   VIDAL:         Sometimes.
1994
1995   SA RUIZ:       Okay. Now, on Snapchat you can see that it’s pulled from the gallery versus
1996                  being live, all right? Are - is she providing you with live responses, or from a
1997                  gallery?
1998
1999   VIDAL:         Live - sometimes live.
2000
2001   SA RUIZ:       Sometimes live? Okay. So you know you weren’t talking to another man?
2002
2003   VIDAL:         Yeah.
2004
2005   SA RUIZ:       Okay. Because that happens a lot too. Okay. Now, when - when I look at these
2006                  conversations, when - when Snapchat, as you know, the conversation may
2007                  disappear from the users but Snapchat has the ability to pull the stuff up and
2008                  does and often retains it. When I look at these images or these uh, these uh
2009                  conversations are these conversations that - are you asking for her for very
2010                  specific videos? Does she do things for you and them? Like, are you asking
2011                  her, hey, send me a video of you...
2012
2013   VIDAL:         I’ve, I’ve. I have asked that.
2014
2015   SA RUIZ:       Okay. So you’ve asked her to - to masturbate? We’ll talk about Ava. You’ve
2016                  asked her to send you a video of her masturbating? Have you ever asked her
2017                  to do anything else, like, involve her brother or sister? Penetrate herself with
2018                  an object?
2019
2020   VIDAL:         No. No, I don’t think I’ve done that.
2021
2022   SA RUIZ:       Okay. Involve herself with an animal? For example or things like that or meet
2023                  you somewhere or as far as the totality of these conversations, has it just been
2024                  you asking her for pornographic material?
2025


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 65 of 129 Page ID #:307
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 46



2026   VIDAL:         Mm-hmm.
2027
2028   SA RUIZ:       And just regular conversation? Okay.
2029
2030   VIDAL:         I have a quick question.
2031
2032   SA RUIZ:       Yeah.
2033
2034   VIDAL:         I’ll be honest with you, like, I’ve been wanting to stop with this for, like, the
2035                  longest and now that, you know, this has been like really serious, like, I for
2036                  sure I want - I want to completely stop it and completely stop with everything.
2037                  I know that what I’ve done is absolutely wrong and I hope you guys give me,
2038                  like, I don’t want to say second chances but, like, for a person to, like, change
2039                  completely. And I was just hoping, like, I really don’t want this to go into,
2040                  like, prison or jail kind of thing. Is it going to be one of those cases?
2041
2042   SA RUIZ:       That’s not my decision to make and kind of how I talked to you initially, you
2043                  know, whether or not a prosecutor moves forward is not my decision. I have a
2044                  job to make sure that I represent the facts accurately. I’m not here to make you
2045                  look like anything that you aren’t. You know what I mean? So the
2046                  conversations that we talk about, although I have to write a report on it, it’s
2047                  not in anyone’s interest to misrepresent these facts. And so I want to be clear
2048                  about that. What I want to - and I think were having is an open discussion and
2049                  honest discussion so that things that are on that computer that show what were
2050                  talking about I’m hoping their consistent. I have no reason to disbelieve you.
2051                  That could go a long way for somebody who has to make the decision as to
2052                  whether or not to move forward and prosecute. We often hear what you’re
2053                  telling us is, hey, I want to change. I want to do this. And then I can’t tell you
2054                  - and I’m sure you - Rodriguez here has come across this where in a month we
2055                  get more - we get more leads on the same guy who told me, hey, I want to
2056                  stop. I want to do this and then they never sought counseling, they lied during
2057                  the interview after we found out on their devices all these other things that
2058                  they were engaged in. So, you know, I am not going to assume that you are
2059                  like anybody else. You are you. And I’m going to give you the benefit of the
2060                  doubt until we see what forensics has and if it’s consistent, that information
2061                  gets relayed to those prosecutors that make that decision as to whether or not
2062                  to move forward. So, in my opinion, I think it’s helpful to be open and frank
2063                  with this information. Because I think appearing to be inconsistent or lying
2064                  about it only makes things worse, as I’ve told you. I’d rather have you not say
2065                  anything than, you know, lie about it. When it comes to Morgan, and it sounds
2066                  like you are remorseful, and that’s something that also has to get relayed to
2067                  those people is where well. You know, it’s not like I’m dealing with a guy
2068                  who says, you know, we should be able to marry infants. I’ve had that
2069                  conversation before to. You know, it’s not the same. Were talking apples and
2070                  oranges here. When it comes to Morgan similar types of conversations?


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 66 of 129 Page ID #:308
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 47



2071                  You’re just asking her for news and it sounds like she sent - did she also send
2072                  live images or videos? Okay. Did you save those anywhere?
2073
2074   VIDAL:         I’ve - I’ve saved them to the phone but I deleted them.
2075
2076   Q2:            Your old phone? Okay. You didn’t back them up anywhere?
2077
2078   VIDAL:         No.
2079
2080   SA RUIZ:       Because I’ll tell you, in 14 years, I mean, people who have obtained, created,
2081                  or produced material like that from somebody that you know. Because I’m
2082                  sure you talked to these girls regularly for a while. That stuff is usually kept
2083                  somewhere. And it’s common - it’s often that that happens. I just want to
2084                  make sure you’re being honest with me about it. It’s not saved anywhere else?
2085                  It’s not in a thumb drive or a memory card as far as you know?
2086
2087   VIDAL:         I deleted it.
2088
2089   SA RUIZ:       Okay did you save it to a folder, like, Morgan and Ava?
2090
2091   VIDAL:         I - I’ve done that in my old laptop.
2092
2093   SA RUIZ:       Okay. The one that you deleted from the recycle bin? Those folders of Ava
2094                  and Morgan have been deleted?
2095
2096   VIDAL:         I didn’t. I saved them to those laptops and I deleted them.
2097
2098   SA RUIZ:       Mm-hmm.
2099
2100   VIDAL:         And, you know, being upfront they’re not the only ones that I’ve talked to.
2101                  There were several.
2102
2103   SA RUIZ:       It’s - it’s - it’s not - it shouldn’t be happening, right? It’s, you know, against
2104                  the law to do that. That I also understand that, you know, we have often
2105                  conversations with minors who engage in this conduct themselves. So, it’s
2106                  something that I’m familiar with. What are these other kids names? That you
2107                  know of?
2108
2109   VIDAL:         I can’t recall the other ones.
2110
2111   SA RUIZ:       How many approximately, you think?
2112
2113   VIDAL:         I’ll be honest with you, like, over the course of, like, since January to, like,
2114                  this day, like, a lot. I don’t know how many.
2115


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 67 of 129 Page ID #:309
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 48



2116   SA RUIZ:       More than - that you’ve got to produce material for you? Like that sent you
2117                  masturbation videos or nude videos?
2118
2119   VIDAL:         Yeah.
2120
2121   SA RUIZ:       Okay. More than 50? Okay. More than 100?
2122
2123   VIDAL:         I know.
2124
2125   SA RUIZ:       Okay. It’s just been a lot?
2126
2127   VIDAL:         Yeah.
2128
2129   SA RUIZ:       Okay.
2130
2131   VIDAL:         Yeah. I never kept track.
2132
2133   SA RUIZ:       Okay. Were these being saved to a specific folder every single time? Or to an
2134                  account?
2135
2136   VIDAL:         I would save them, but never to an account. Like, I would save them to my
2137                  phone and I would keep them saved for a bit and then I would delete - I
2138                  deleted them.
2139
2140   SA RUIZ:       Okay. These - these ones, not Ava and Morgan but all the other ones, are they
2141                  on the Snapchat account you currently logged into?
2142
2143   VIDAL:         I think so.
2144
2145   SA RUIZ:       Or some.
2146
2147   SA RUIZ:       They were in the - that one, those two that I mentioned to you about that were
2148                  deleted.
2149
2150   SA RUIZ:       Okay.
2151
2152   VIDAL:         Also in the other ones that I had.
2153
2154   SA RUIZ:       So there’s the FirstLast6543.
2155
2156   VIDAL:         That one I don’t think I’ve ever contacted - I think I have.
2157
2158   SA RUIZ:       Okay.
2159
2160   VIDAL:         But I’m not 100 percent sure.


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 68 of 129 Page ID #:310
                                                                           INTERVIEW WITH JOSUE VIDAL
                                                                                   Case # RV07QR20RV0014
                                                            Audio Recordings VN810011, VN810012, VN810013
                                                                                                   Page 49



2161
2162   SA RUIZ:       But epic Joshua or EPIC.JOSHUA2020 is the one you think that the phone is
2163                  currently logged into? Do you think some of those girls around there? Okay.
2164                  When was the last conversation you had with one of those girls you think?
2165                  Was this the one you were talking about from last week?
2166
2167   VIDAL:         The Ava one and the Morgan one that was from last year.
2168
2169   SA RUIZ:       Okay. But as far as the girls that have sent you stuff, you know, you’ve asked
2170                  them for videos, is that on the EPIC.JOSHUA as well?
2171
2172   VIDAL:         That’s one of them.
2173
2174   SA RUIZ:       Okay. And that was as recently as last week?
2175
2176   VIDAL:         Of this week.
2177
2178   SA RUIZ:       Of this week?
2179
2180   VIDAL:         Yeah, within the last 7 days.
2181
2182   SA RUIZ:       Okay. Any other accounts you can think of then, that that material might be on
2183                  there?
2184
2185   VIDAL:         Yes.
2186
2187   SA RUIZ:       Okay.
2188
2189   VIDAL:         I’m trying to think of the name right now. Oh, JOSUELEGEND123. I think.
2190
2191   SA RUIZ:       JOSUELEGEND?
2192
2193   VIDAL:         Mm-hmm. 123.
2194
2195   SA RUIZ:       123, okay.
2196
2197   VIDAL:         And those are accounts that I have used.
2198
2199   SA RUIZ:       Are you using your devices to record, like, on Snapchat so that they don’t - I
2200                  think you know what I’m going to say because it happens all the time. Go
2201                  ahead.
2202
2203   VIDAL:         Yeah, I’ve recorded them.
2204
2205   SA RUIZ:       Okay. From one device to another? Are we talking about using the Samsung?


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 69 of 129 Page ID #:311
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 50



2206                  Okay. Where are those images that now, that you recorded?
2207
2208   VIDAL:         I - I want to say I deleted them. I’m not sure if I deleted them this week or
2209                  sometime last week.
2210
2211   SA RUIZ:       Okay. When you say deleted, are you still talking about having wiped the
2212                  phone are we kind of talking about something different now? Because you
2213                  said you wiped it...
2214
2215   VIDAL:         No, I wiped it from the phone.
2216
2217   SA RUIZ:       Okay. So you deleted it from the phone. You didn’t wipe the phone, like, a
2218                  factory reset, if you will?
2219
2220   VIDAL:         No.
2221
2222   SA RUIZ:       Okay. So the Samsung still operates. It’s not wiped, right? It’s just certain
2223                  things have been removed from it - it sounds like? Okay. So you are using
2224                  your Samsung S7 to engage the conversation and then your S6 is what your
2225                  recording with, or the old Samsung?
2226
2227   VIDAL:         No - no - no. With the phone itself I record.
2228
2229   SA RUIZ:       Oh, screen - your screen recording?
2230
2231   VIDAL:         Mm-hmm.
2232
2233   SA RUIZ:       Okay. So those get saved to your gallery, all right? Or does get saved to your
2234                  photos and those might be on the memory card or on the phone itself?
2235
2236   VIDAL:         I would have saved them there.
2237
2238   SA RUIZ:       If they’re still on there.
2239
2240   VIDAL:         Yeah but I - I hope - I want to say I deleted it. I hope I deleted it.
2241
2242   SA RUIZ:       Okay and that is on the new phone, the old phone, or both? That was a
2243                  practice you did on both phones?
2244
2245   VIDAL:         The new one.
2246
2247   SA RUIZ:       On the new phone? Okay. Is there only one user profile on there, or do you
2248                  have multiple users on your - your Samsung?
2249
2250   VIDAL:         What you mean?


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 70 of 129 Page ID #:312
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 51



2251
2252   SA RUIZ:       Like, do you have, you know, you can have multiple logins., like, you could
2253                  have one phone...
2254
2255   VIDAL:         Oh, yes.
2256
2257   SA RUIZ:       You do have multiple?
2258
2259   VIDAL:         (unintelligible).
2260
2261   SA RUIZ:       Okay. So the one that we are talking about where this material is on, what user
2262                  profile is that one on? Like, doesn’t have a special name? Is it the host way
2263                  user or is it a different name? Because you could change - on your phone you
2264                  have different logins. You could use one as Josue when you type in your
2265                  password it goes to this, it opens up everything, and then you can swipe and
2266                  go to a different user, right? Are you following? Maybe I’m just doing a really
2267                  bad job at explaining this. One phone can have multiple accounts. Not Internet
2268                  accounts, but I’m talking actual, you type in your password and it opens up a
2269                  platform, right? The password that you gave me, the 84 - 8237, that goes into
2270                  one user profile on your phone, right? Like, you have your phone, you have
2271                  your contacts list, you have all your apps. And then there’s a way to change it
2272                  to, like, a hidden or alternate user. Or do you only have the one user on your
2273                  phone?
2274
2275   VIDAL:         No, so on my phone, the Samsung, allows me to have, like, to accounts at the
2276                  same time and I’m logged into both.
2277
2278   SA RUIZ:       On? Okay. So do you have - so when you login to Snapchat on one user
2279                  account how do you get to the other? Do you have to switch users on your?
2280
2281   VIDAL:         Switch windows.
2282
2283   SA RUIZ:       Switch windows, that’s what...
2284
2285   VIDAL:         Switch apps. Because there - okay, so, Samsung has their regular Snapchat
2286                  and then you can download a 2nd Snapchat app.
2287
2288   SA Ruiz:       Okay. It’s different from the first Snapchat app?
2289
2290   VIDAL:         Yes.
2291
2292   SA RUIZ:       It’s a android specialized dual app?
2293
2294   VIDAL:         Yeah, a dual app.
2295


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 71 of 129 Page ID #:313
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 52



2296   SA RUIZ:       Okay. Now I’m following you. Okay. Both of those different accounts or you
2297                  have two different accounts logged in at the same time? Is that what you’re
2298                  saying? Okay. And then you’re using the on-screen or device built in
2299                  recording software to capture that? Okay. The two accounts that we are
2300                  talking about on these different apps, these different Snapchat apps, are these
2301                  the EPIC.JOSH2020 and JOSUELEGEND123?
2302
2303   VIDAL:         I think.
2304
2305   SA RUIZ:       Okay.
2306
2307   VIDAL:         I think so, or I could be using the FirstLast one.
2308
2309   SA RUIZ:       Or the FirstLast6543? Okay. There is content saved in there. It doesn’t - does
2310                  it alert them on - I’m not familiar, because they change these android apps all
2311                  the time. Does it alert the user of the screen recording?
2312
2313   VIDAL:         I don’t know. I don’t think so.
2314
2315   SA RUIZ:       They haven’t told you? At least, hey, why are you screen shotting?
2316
2317   VIDAL:         (Unintelligible).
2318
2319   SA RUIZ:       It will put it in the conversation if it identifies it. Okay. As far as you know,
2320                  they are not? Okay. Now, what do you do with these - these images are these
2321                  videos that you’ve created?
2322
2323   VIDAL:         So the ones that I’ve had I would just save them for myself. Like, I don’t think
2324                  I’ve ever shared them with anyone.
2325
2326   SA RUIZ:       Okay.
2327
2328   VIDAL:         Because, you know, they are - I would say they were - they were personal
2329                  ones. So I would keep them saved.
2330
2331   SA RUIZ:       And before we move on, what’s the youngest of the ones you recorded, like,
2332                  person depicted? And what’s the oldest? Are we talking - so the youngest user
2333                  you’ve spoken to them got to produce an image of themselves masturbating is
2334                  10 and then it goes up to about you said 16?
2335
2336   VIDAL:         17.
2337
2338   SA RUIZ:       Okay. Any of these girls local? Do you - have you any of them within the area
2339                  or that you know personally or?
2340


                                                                                               USA_000973
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 72 of 129 Page ID #:314
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 53



2341   VIDAL:         No, it’s just that a lot of them, like, were from different - different places.
2342
2343   SA RUIZ:       Okay.
2344
2345   SA RUIZ:       Spanish-speaking? English-speaking-
2346
2347   VIDAL:         Yeah.
2348
2349   SA RUIZ:       Both? Okay. Now, mainly it would be, you know, for obvious reasons
2350                  concerned about the younger side. Any of these girls, from the 10-year-old on
2351                  up to the 16-year-old, aside from them just masturbating, what else have you
2352                  asked them to do?
2353
2354   VIDAL:         Just show parts of themselves.
2355
2356   SA RUIZ:       Okay, so just vagina, buttocks, and breasts? All girls? Okay. No - anything
2357                  specific about penetration? Like, are you telling them to… combs or
2358                  toothbrushes are things like that to direct them in what to do? I know...
2359
2360   VIDAL:         They would do that.
2361
2362   SA RUIZ:       They would? Okay. No animals, no family members, no nothing that involves
2363                  stuff like that? Okay. Because I just want to see - I’m trying to gauge how -
2364                  how the conversations when we see them are going to appear, if they’re going
2365                  to be consistent with what you’re saying or - or not. You know, I wanted to -
2366                  just wanted to get my head wrapped around it. Okay, you’re not selling these
2367                  images? You’re not trading them as far as - as far as we’ve talked about? You
2368                  haven’t sent them out to anybody?
2369
2370   VIDAL:         Okay, so the - okay so let me explain. So the stuff, like, the links that people
2371                  have sent before, those are the ones that I would send.
2372
2373   SA RUIZ:       The ones you have received that - the images and videos by way of links or
2374                  even just images and videos ones on or, you know, onesies, you sent those
2375                  out.
2376
2377   VIDAL:         Mm-hmm.
2378
2379   SA RUIZ:       But the stuff that you’ve been involved in and say producing or creating with
2380                  this other people saving them as they come on your phone, those you have not
2381                  sent out, is that correct?
2382
2383   VIDAL:         No.
2384
2385   SA RUIZ:       Okay. And those are as young as 10 and up to 16, 17. No one you know


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 73 of 129 Page ID #:315
                                                                          INTERVIEW WITH JOSUE VIDAL
                                                                                  Case # RV07QR20RV0014
                                                           Audio Recordings VN810011, VN810012, VN810013
                                                                                                  Page 54



2386                  personally, they are not students are they? Okay. No one you’ve met up with?
2387                  Okay. Now have you ever been accused of inappropriate contact with a
2388                  minor? Your brother - your brother said he found an uncomfortable, you
2389                  know, Omegle communication. But has anybody come forward and filed or
2390                  made aware...
2391
2392   VIDAL:         No.
2393
2394   SA RUIZ:       ...to you that, hey, I know what you’re doing or, I believe you’re doing
2395                  something, like, engaged in inappropriate conduct with kids. Have you ever
2396                  been accused of that?
2397
2398   VIDAL:         No (unintelligible).
2399
2400   SA RUIZ:       Okay. Have you ever had, aside from these images we talked about, have you
2401                  ever had inappropriate physical contact with the child?
2402
2403   VIDAL:         No.
2404
2405   SA RUIZ:       Have you ever, you know, heavy petting or kissing or just inappropriate
2406                  touching about the clothes, under the clothes, with any minor ever?
2407
2408   VIDAL:         (Unintelligible).
2409
2410   SA RUIZ:       No? Okay. Aside - and I note your employed at a middle school, but aside
2411                  from just the middle school involvement with kids, do you have any outside
2412                  involvement with kids? Do you mentor? Do you - are you a youth pastor? Do
2413                  you coach? Do anything like that?
2414
2415   VIDAL:         No.
2416
2417   SA RUIZ:       Okay. Aside from what we have talked about right now, is there anything that
2418                  we should know that we haven’t learned from you yet because we haven’t
2419                  asked? Anything you can think of where it’s, like, you know what, John, look,
2420                  just I want to be upfront about this. You’re probably going to find this on my
2421                  laptop, this on my computer, this on my thumb drive, this on my, whatever.
2422                  Let me just address this now.
2423
2424   VIDAL:         Oh! Okay, I am most forgot to mention. Unfortunately, I’ve also have an
2425                  Instagram account.
2426
2427   SA RUIZ:       Okay.
2428
2429   VIDAL:         I have it as well.
2430


                                                                                             USA_000975
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 74 of 129 Page ID #:316
                                                                               INTERVIEW WITH JOSUE VIDAL
                                                                                       Case # RV07QR20RV0014
                                                                Audio Recordings VN810011, VN810012, VN810013
                                                                                                       Page 55



2431   SA RUIZ:       And his Instagram another platform that you’ve engaged in this material?
2432                  Okay. When was last time on Instagram?
2433
2434   VIDAL:         Yesterday.
2435
2436   SA RUIZ:       Okay. And the stuff that happened yesterday, what was it?
2437
2438   VIDAL:         I, um, masturbated for a girl.
2439
2440   SA RUIZ:       Okay. What was her name?
2441
2442   VIDAL:         I don’t know.
2443
2444   SA RUIZ:       Oh, you don’t know?
2445
2446   VIDAL:         I think it’s - I don’t know the name.
2447
2448   SA RUIZ:       Okay.
2449
2450   VIDAL:         I can’t think of it. I can’t think straight right now, I’m sorry.
2451
2452   SA RUIZ:       No, it’s - take your time. Was it live?
2453
2454   VIDAL:         Yes.
2455
2456   SA RUIZ:       Okay. And how old was she?
2457
2458   VIDAL:         11.
2459
2460   SA RUIZ:       Okay. You know where she was at? Like, where she lived or?
2461
2462   VIDAL:         I don’t remember where. She told me, but I don’t remember. But she was not
2463                  from California.
2464
2465   SA RUIZ:       Okay. Did you record this conversation as well?
2466
2467   VIDAL:         It’s saved. I mean, it’s not saved I’m just saying. It’s - it’s - the conversation,
2468                  like, it’s already saved. Not sure how to explain that.
2469
2470   SA RUIZ:       You mean, it’s - it’s in the account?
2471
2472   VIDAL:         Yeah.
2473
2474   SA RUIZ:       Okay. Did you - but when I say live, meaning you know how you can do
2475                  video?


                                                                                                  USA_000976
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 75 of 129 Page ID #:317
                                                                               INTERVIEW WITH JOSUE VIDAL
                                                                                       Case # RV07QR20RV0014
                                                                Audio Recordings VN810011, VN810012, VN810013
                                                                                                       Page 56



2476
2477   VIDAL:           Mm-hmm.
2478
2479   SA RUIZ:         You know, like, face time for example if you’re on your iPhone or Facebook
2480                    has a live feature, is that what you are engaging in on her? Okay. Did you
2481                    record - screen record that though?
2482
2483   VIDAL:           No.
2484
2485   SA RUIZ:         Okay. So you don’t - did you record her doing anything?
2486
2487   VIDAL:           No.
2488
2489   SA RUIZ:         No? So when you say the conversation is recorded, do you mean it’s just in
2490                    the account still? You can pull it up? Okay. Which account is that on
2491                    Instagram?
2492
2493   VIDAL:           I don’t know the name of it but I think it’s - let me see if I can think of it.
2494                    Honestly, I can’t right now.
2495
2496   SA RUIZ:         Okay. Is it - it’s in the phone? It’s whatever’s logged into the phone? Okay.
2497                    Did she perform masturbation back to you?
2498
2499   VIDAL:           (Unintelligible).
2500
2501   SA RUIZ:         Okay. Okay. Anything else? Forensics - I mean, I haven’t really gone through
2502                    the messages forensics has sent me because I kind of want to give you my
2503                    undivided attention. So aside from the event that took place yesterday were
2504                    you masturbated and it was a live video call through this - this account?
2505                    There’s a Snapchat, there is Omegle, there is Kik, there are the links on Mega
2506                    and Dropbox. Anything else that you can think of that we should know while
2507                    we have this opportunity to talk that - that you might want to at least explain?
2508
2509   VIDAL:           I can’t think of anything.
2510
2511   SA RUIZ:         Okay.
2512
2513   VIDAL:           Sorry.
2514
2515   SA RUIZ:         No, you don’t - don’t apologize. I want to make sure that we kinda air it all
2516                    out there so that there isn’t any reason why I would think that you’re not being
2517                    honest with us, right? So I was wondering if you had any questions? I know
2518                    you’ve been trying to but in and cut me off and - and chime in.
2519
2520   DET. RODRIGUEZ: Yeah, no, I mean, I appreciate your cooperation. I think, to be completely


                                                                                                  USA_000977
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 76 of 129 Page ID #:318
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 57



2521                     honest, you know, our whole goal today is to just leave with a clean slate. I’ve
2522                     been doing this for a lot of years. He’s been doing this for a lot of years. The
2523                     total of our experience is probably over 20 years of experience with this. It’s
2524                     totally not uncommon, man, okay? We deal with this every single day in our
2525                     whole goal is to have a clean slate by the time we leave here and not
2526                     misrepresent you. One thing, obviously you are a teacher for 8th grade, is it?
2527
2528   VIDAL:            6th.
2529
2530   SA RUIZ:          6th grade, okay. And how long have you been teaching for?
2531
2532   VIDAL:            For - as a teacher?
2533
2534   DET. RODRIGUEZ: Yeah.
2535
2536   VIDAL:            This is my third year.
2537
2538   DET. RODRIGUEZ: 3rd year, okay, and it’s San Bernardino Unified or what is it?
2539
2540   VIDAL:            Yes.
2541
2542   DET. RODRIGUEZ: Okay. With all your devices - because we just went to online school 3,4
2543                months ago. So, I mean, there’s been obviously class in session. Has any
2544                students or anybody - does, like I said, the forensics are going through all this
2545                stuff. Are there going to be any photos or any contact with the students that
2546                have gone to your school that have sent you pictures? Cuz I went back to high
2547                school?
2548
2549   VIDAL:            From the school? No. My own school? No.
2550
2551   DET. RODRIGUEZ: Okay. Because when I went to high school I remember teachers and all
2552                this stuff they are cool and teachers always were friendly with the people and I
2553                used to have their cell phone numbers and I would text them and all that stuff.
2554                Same with all my friends and the girls would do the same thing. Is there any
2555                students or anyone that you know if - you personally know - that is of the age
2556                of whatever, is under 18 obviously, but the ages that you like from 10 to 18,
2557                have they ever sent any type of photos?
2558
2559   VIDAL:            From my school? No. Like - I - I didn’t want any contact from my own,
2560                     basically, my own area. I just didn’t want that.
2561
2562   DET. RODRIGUEZ: Do you have any communications with your students outside of, like,
2563                whether it’s Aries or – or-
2564
2565   VIDAL:            No.


                                                                                                 USA_000978
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 77 of 129 Page ID #:319
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 58



2566
2567   SA RUIZ:         Class dojo, or whatever those are, do you have any on Instagram or anything
2568                    like that?
2569
2570   VIDAL:           Nope.
2571
2572   SA RUIZ:         Or text message?
2573
2574   VIDAL:           I didn’t want any contact with my own students.
2575
2576   SA RUIZ:         Okay.
2577
2578   DET. RODRIGUEZ: So all the – all the, everything you have are some unknown children that
2579                you don’t personally know or you have no personal connection to?
2580
2581   SA RUIZ:         Okay.
2582
2583   DET RODRIGUEZ: (Unintelligible.)
2584
2585   SA RUIZ:         Any person any hidden camera stuff that’s going to be found?
2586
2587   VIDAL:           No I don’t...
2588
2589   SA RUIZ:         Meaning bathrooms or, or, or, recordings of that nature? Anything like that
2590                    that you’ve plugged in the classroom? Do you have any devices in your
2591                    classroom currently?
2592
2593   VIDAL:           In the classroom? No.
2594
2595   SA RUIZ:         Do you have your desktop? Do you have a web - another laptop or anything
2596                    like that?
2597
2598   VIDAL:           In the classroom, I just have, like, the school laptop.
2599
2600   SA RUIZ:         Okay, but those are here. You said those 3?
2601
2602   VIDAL:           Oh, hold on. I’m confused.
2603
2604   SA RUIZ:         Would you have at your classroom out in is it Shandin Hills?
2605
2606   VIDAL:           Yes.
2607
2608   SA RUIZ:         Any - any electronic devices at your classroom currently that, that, that are
2609                    there now?
2610


                                                                                                 USA_000979
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 78 of 129 Page ID #:320
                                                                                INTERVIEW WITH JOSUE VIDAL
                                                                                        Case # RV07QR20RV0014
                                                                 Audio Recordings VN810011, VN810012, VN810013
                                                                                                        Page 59



2611   VIDAL:           Just-
2612
2613   SA RUIZ:         At Shandin Hills?
2614
2615   VIDAL:           Just the school laptop. And that’s it.
2616
2617   DET. RODRIGUEZ: Different - those are different from the 3 you have here? Okay. Were any
2618                of those used for, like, Omegle or...
2619
2620   VIDAL:           No, never. No.
2621
2622   SA RUIZ:         ...chatting or anything like that? Okay.
2623
2624   VIDAL:           Never.
2625
2626   DET. RODRIGUEZ: The only reason we are want to ask is because we want to make sure we
2627                don’t leave anything that might have that type of material at the school, you
2628                know?
2629
2630   VIDAL:           Mm-hmm.
2631
2632   DET. RODRIGUEZ: So be completely honest with any other devices or any of that stuff at the
2633                school in the classroom?
2634
2635   VIDAL:           No. I never - never brought anything from school that I wanted - I’ve never
2636                    used anything from the school laptop for personal use.
2637
2638   SA RUIZ:         Okay.
2639
2640   VIDAL:           Just my own laptop that I have with me.
2641
2642   SA RUIZ:         Okay. The Internet that you are using to get this material is it just the house
2643                    here? Or are you using, like, - who’s your service provider on your cell
2644                    phone?
2645
2646   VIDAL:           I’ll be honest with you, I don’t know. I’m not sure if it’s AT&T or Verizon.
2647
2648   SA RUIZ:         Okay. What about Sprint?
2649
2650   VIDAL:           Sprint?
2651
2652   SA RUIZ:         Did you ever use Sprint?
2653
2654   VIDAL:           I’m not sure. I’m not sure, like, my mom (unintelligible).
2655


                                                                                                   USA_000980
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 79 of 129 Page ID #:321
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 60



2656   SA RUIZ:       Does she pay the bill?
2657
2658   VIDAL:         Yeah. For sure she knows about that.
2659
2660   SA RUIZ:       Okay. The Internet you have here is it Wi-Fi, protected, encrypted, you have,
2661                  like, a password to get into it?
2662
2663   VIDAL:         Yes.
2664
2665   SA RUIZ:       Okay, nobody - just not everybody has access to it? Okay. Any other phone
2666                  numbers that you communicate on aside from your phone number the one
2667                  that’s, like, what, 2055? Is that what your phone number ends in? Okay. Any
2668                  other online Internet numbers you text with?
2669
2670   VIDAL:         I’ve used voice.
2671
2672   SA RUIZ:       The Voice app?
2673
2674   VIDAL:         The voice app.
2675
2676   SA RUIZ:       Okay.
2677
2678   VIDAL:         And I think I used it to send and receive but I’m not sure if that’s what it - I’m
2679                  not sure if it was with and adult or a minor. I don’t know.
2680
2681   SA RUIZ:       Okay.
2682
2683   VIDAL:         I’ve probably used it with someone, like, 2 or 3 times.
2684
2685   SA RUIZ:       Okay. And that’s - that app is still on the, on the phone?
2686
2687   VIDAL:         I’m not sure if it has that on or if I removed it.
2688
2689   SA RUIZ:       Okay.
2690
2691   VIDAL:         I’m not sure.
2692
2693   SA RUIZ:       Okay. So, with the - the form that we had talked about as far as taking over
2694                  online accounts, like I said, it would involve me, I would go into your - I
2695                  would go into your account, I would change the password, I would change the
2696                  recovery email, the recovery phone number, everything so that you no longer
2697                  have access to this account. We would be ultimately I would be looking for all
2698                  your correspondences, searching this stuff, because I want to assume your -
2699                  your online identity. I want - you speak Spanish?
2700


                                                                                                USA_000981
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 80 of 129 Page ID #:322
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 61



2701   DET. RODRIGUEZ: Yeah, I’ll call you when we get clear.
2702
2703   SA RUIZ:        I normally only speak English so, like, if somebody that I’m communicating
2704                   with that I had previously communicated with all of a sudden sees that change
2705                   that’s a little suspicious to that person. So we’d be looking at and, and trying
2706                   to use your presence, okay, to identify these other people. That’s what this
2707                   form is basically about, kinda outlines it, and then again, like, I said, there’s
2708                   an account platform and then there’s a login or username or handle, whatever
2709                   you use to put in, and then of course the password. That would be what is
2710                   necessary to do those things. It’s completely voluntary. Should you allow us
2711                   to do that - that would also be something that I explained to a prosecutor and
2712                   say, hey, look, he is cooperating. Here is something that he’s willing to do for
2713                   us. I wouldn’t omit that information to those people as well. I can’t tell you - I
2714                   can’t give you legal advice about it, I’m just letting you know that that is
2715                   something that as an investigator who wants to make sure that this is no longer
2716                   happening on sort of this global level. Is what we try to do. You know, it’s
2717                   just like the guy who is out, you know, getting street dealers and moving to
2718                   the next person, you know, that’s what we do is law enforcement. We try, we
2719                   try to make it better for everybody. That’s what this form is about. I’m going
2720                   to give it to you. Take your time reading it. If you have any questions, let me
2721                   know. I want to be transparent with you. And then if you’re comfortable with
2722                   it, you know, I would ask that all of the platforms that I would encourage you
2723                   but it’s not obligated - it’s voluntary. Any platform that you have used,
2724                   whether it no longer has CP on it, or child pornography on it or not, but any
2725                   platform you have used for receiving, distributing child pornography or
2726                   communicating with minors in a sexual nature. Those the ones we are looking
2727                   for because a lot of the times these minors are - are adults as well to. There
2728                   just posing as minors. Those would be the ones were looking to take over.
2729                   And so if you’re comfortable with it, I would have you identify the platform,
2730                   Snapchat, Kik, Omegle, or, Omegle is not an account, but Mega, Dropbox,
2731                   and put - and identify - give us the password and then we would take it over if
2732                   you’re comfortable doing that. But there’s two forms here. If we need more,
2733                   but take your time looking at it. Here’s a pen.
2734
2735   VIDAL:          Put in the deleted ones as well?
2736
2737   SA RUIZ:        Please. Should I be able to have Kik reactivate or have Snapchat reactivate
2738                   them, that could be helpful.
2739
2740   VIDAL:          I don’t remember (unintelligible) Kik if that was (unintelligible).
2741
2742   SA RUIZ:        I’m sorry. You don’t remember the - what?
2743
2744   VIDAL:          I don’t remember like the Kik account password because like that was along
2745                   time ago.


                                                                                                USA_000982
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 81 of 129 Page ID #:323
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 62



2746
2747   SA RUIZ:       Okay. Let me ask you a question. ITSJAYKING2 sound familiar?
2748
2749   VIDAL:         (unintelligible).
2750
2751   SA RUIZ:       No. It’s J-A-Y-K-I-N-G-2.
2752
2753   VIDAL:         Yeah, that name sounds familiar.
2754
2755   SA RUIZ:       Okay.
2756
2757   VIDAL:         I don’t know the password to that.
2758
2759   SA RUIZ:       Okay. To the extent, I mean, if we can - if you consent to us taking it over
2760                  that’s all we would need if we can put in what you think is the password and
2761                  we can try it. And then maybe Kik will work with us.
2762
2763   VIDAL:         You said what was ITSJAYKING2?
2764
2765   SA RUIZ:       ITSJAYKING2, the number 2.
2766
2767   VIDAL:         The password? I don’t know. So you said just try to guess?
2768
2769   SA RUIZ:       Well, I mean, whatever you think it might be or, you know, you could put I
2770                  don’t recall. But if you’re - if you allow us to do it, it was registered with your
2771                  Josue, Josue Vidal email, so to the extent we can recover it, you know, we
2772                  might be able to.
2773
2774   VIDAL:         I don’t recall from my - the other ones - the accounts that were deleted? I
2775                  don’t recall the passwords but I think they might be the same. But I’m not 100
2776                  percent sure.
2777
2778   SA RUIZ:       Okay you can put, like, quotes down there to reflect that if you’d like.
2779
2780   VIDAL:         I’m not sure if it’s – ITSJAYGEE2 or 7.
2781
2782   SA RUIZ:       Okay. Well, you could list it as another account if it’s one you’re willing to
2783                  have us take over. You can list them both.
2784
2785   VIDAL:         So the quotes mean the password is (unintelligible).
2786
2787   SA RUIZ:       Is the same as the one above.
2788
2789   VIDAL:         But I’m not - I’m not 100 percent sure if it’s the same for the Kik, I don’t- it
2790                  was a long time ago.


                                                                                                USA_000983
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 82 of 129 Page ID #:324
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 63



2791
2792   SA RUIZ:       Okay. So I see we have - go ahead and write your name at the top and then I
2793                  will put mine and again you can write my name in there Jonathan Ruiz R-U-I-
2794                  Z. Yeah, J-O-N-A-T-H-A-N and R-U-I-Z. Go ahead and finish reading the
2795                  document. We’ll talk about the accounts when you’re done. Okay. If you’re
2796                  comfortable, go ahead and sign. And then I think there’s a date and then we
2797                  sign as witnesses.
2798
2799   VIDAL:         What’s the date?
2800
2801   SA RUIZ:       Today’s the 23rd. Okay. So I see Snapchat, there’s EPIC.JOSHUA2020.
2802
2803   VIDAL:         Mm-hmm.
2804
2805   SA RUIZ:       And then password is that 9-A-Z-W...
2806
2807   VIDAL:         No, that’s a Q.
2808
2809   SA RUIZ:       That’s a Q? Okay. Let me - let me try to write these in. You had nice
2810                  penmanship a minute ago. Maybe it’s just because you’re writing on that silly
2811                  thing, but...
2812
2813   VIDAL:         (Unintelligible).
2814
2815   SA RUIZ:       Well, it looks, like, they are all the same password so I’ll read it above and all
2816                  is have you eat initial but is that Q-A?
2817
2818   VIDAL:         Yes, it’s Q-A.
2819
2820   SA RUIZ:       Q...
2821
2822   VIDAL:         A...
2823
2824   SA RUIZ:       A...
2825
2826   VIDAL:         Z...
2827
2828   SA RUIZ:       Z-W.
2829
2830   VIDAL:         No, it’s - there’s a pattern of keyboard Q-A-Z and the next one is I think A-B-
2831                  C or what did I wrote there?
2832
2833   SA RUIZ:       Well here, I mean we can do like a QWERTY keyboard like this? Okay, so if
2834                  you’re looking at that...
2835


                                                                                               USA_000984
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 83 of 129 Page ID #:325
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 64



2836   VIDAL:         Q-A-Z-W-S-X-E-D-C.
2837
2838   SA RUIZ:       123?
2839
2840   VIDAL:         123.
2841
2842   SA RUIZ:       Q-A-Z-W-S-X-E-D-C.
2843
2844   VIDAL:         Mm-hmm.
2845
2846   SA RUIZ:       123. I see the pattern.-S-X-E-D-C. Okay. And then I’ll just have you initial
2847                  where I just made the change to the document then, just at the top. You can
2848                  just - by my - by my writing is all. Just initial there if that’s okay. Up here
2849                  where I wrote it. Just so I can read it.
2850
2851   VIDAL:         What do I wrote?
2852
2853   SA RUIZ:       Just your initials. Just because I changed the document at all, that way it’s -
2854                  you acknowledged it.
2855
2856   VIDAL:         Oh.
2857
2858   SA RUIZ:       That’s fine. So there is in Alcatel in your room as well, and older phone.
2859
2860   VIDAL:         Yes.
2861
2862   SA RUIZ:       Okay what about- what about that device?
2863
2864   VIDAL:         That one, I don’t think I ever used that, I don’t know if I have but that one’s,
2865                  like, a really - really old one.
2866
2867   SA RUIZ:       Okay. So on the search warrant a judge compels us to search your domicile
2868                  and all of the devices in it. And so whether or not it has been used or hasn’t,
2869                  we have to at least identify and have a conversation about what it is so
2870                  forensics can either rule it out or have to take it back to the lab. So now that -
2871                  so we have an Alcatel old phone. Is there any other old devices that we
2872                  haven’t talked about that are in there? Because I don’t know where the - the
2873                  phone - they found a phone under the bed.
2874
2875   VIDAL:         Oh, so it fell off my-
2876
2877   SA RUIZ:       Okay, it may have fallen - that’s the newer phone.
2878
2879   VIDAL:         Mm-hmm.
2880


                                                                                                USA_000985
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 84 of 129 Page ID #:326
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 65



2881   SA RUIZ:        Okay. With the older phone, do you think it’s in your desk you said?
2882
2883   VIDAL:          It’s inside my desk.
2884
2885   SA RUIZ:        Okay.
2886
2887   VIDAL:          That Alcatel that one, the older one, yeah, that’s inside my closet.
2888
2889   SA RUIZ:        Okay. Any other older phones that you can think of?
2890
2891   VIDAL:          Those are the only, no, those that’s the only one I can think of in my closet.
2892
2893   SA RUIZ:        Okay. Okay. Okay, and I’ll just make sure that they - they grab that. Any
2894                   other devices?
2895
2896   VIDAL:          The phones, the tablet, then I also have my 3 laptops. Those are the only
2897                   devices I can think of in my room right now.
2898
2899   SA RUIZ:        Okay. This - what about this email account? You had said not your
2900                   JOSUE_VIDAL_91@YAHOO but the Gmail account. Is that one - yeah, does
2901                   that one have contraband or child pornography links in it that you’ve emailed
2902                   to yourself? Even though it’s not child pornography, possession of the links
2903                   itself is something that is - is - I would encourage you not to have access to. If
2904                   it is an account you are willing to abandon, we would - we would want that to.
2905
2906   VIDAL:          Yeah, that would definitely be one.
2907
2908   SA RUIZ:        Okay. So I’ll add it to this one. This will just be - since we’re out of room
2909                   here, I’ll just - we’ll put it here. Let me do this. I can write it on this. Give you
2910                   a little bit more to write on and here’s a pen.
2911
2912   VIDAL:          So this is for the-
2913
2914   SA RUIZ:        The email account. The, yeah, whatever email account.
2915
2916   VIDAL:          Okay.
2917
2918   SA RUIZ:        That dog cracks me up.
2919
2920   DET. RODRIGUEZ: How old is that dog? Probably 18 years.
2921
2922   SA RUIZ:        I was going to guess about 30, 40 years old, like a parrot. She’s, like, just let
2923                   me go.
2924
2925   DET. RODRIGUEZ: Yeah.


                                                                                                 USA_000986
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 85 of 129 Page ID #:327
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 66



2926
2927   VIDAL:         I do not recall if I ever used another email besides these two that are
2928                  connected.
2929
2930   SA RUIZ:       Okay.
2931
2932   VIDAL:         I don’t know if I have. I don’t think that I have because these are the only ones
2933                  that are mostly from the (unintelligible). So that’s why I’m putting them
2934                  down. The other emails I don’t know because it’s been so long since I use
2935                  them.
2936
2937   SA RUIZ:       Okay. Your - your JOSUE_VIDAL_91, did you ever use that for links or?
2938
2939   VIDAL:         I don’t think I ever did.
2940
2941   SA RUIZ:       Or any images?
2942
2943   VIDAL:         I think because since that was my personal email and that’s the one I’ve had
2944                  the longest I never wanted to use that one.
2945
2946   SA RUIZ:       Okay.
2947
2948   VIDAL:         I created these other emails.
2949
2950   SA RUIZ:       Is that safe to say then you only use that to register on platforms then like
2951                  Kik?
2952
2953   VIDAL:         Yes.
2954
2955   SA RUIZ:       Okay.
2956
2957   VIDAL:         And I think- Since I was, like, new to this I used, like, my old email, the
2958                  JOSUE_VIDAL I used Kik with that email and then also the old Snapchat, the
2959                  one that got deleted, I’ve also used the JOSUE_VIDAL-
2960
2961   SA RUIZ:       The JOSH7...
2962
2963   VIDAL:         No - no - no, JOSUE_VIDAL @YAHOO.
2964
2965   SA RUIZ:       No - no - no, but Snapchat you were saying your old Snapchat where we were
2966                  talking about the Josh7CSUSB1?
2967
2968   VIDAL:         Yes.
2969
2970   SA RUIZ:       Okay.


                                                                                                USA_000987
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 86 of 129 Page ID #:328
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 67



2971
2972   VIDAL:         That’s the one that I used my personal email for was JOSUE_VIDAL.
2973
2974   SA RUIZ:       Okay.
2975
2976   VIDAL:         And then what’s it called? The other emails - the other snapshots I’m using
2977                  this email the JAYGEEVEE(unintelligible).
2978
2979   SA RUIZ:       Okay. And it looks like the same password then?
2980
2981   VIDAL:         Mm-hmm.
2982
2983   SA RUIZ:       Okay. So if you want to fill out the top one.
2984
2985   VIDAL:         Oh, I’m sorry, Oh, I’m sorry. Let me correct this one. I don’t know the
2986                  password but it’s just already saved in the phone automatically.
2987
2988   SA RUIZ:       Okay.
2989
2990   VIDAL:         I don’t really remember the actual password.
2991
2992   SA RUIZ:       Okay. Do you remember if you linked it to another account so if we did a
2993                  password recovery we could do it, do you know?
2994
2995   VIDAL:         Yeah, I think I used the JAYGEEVEE or my personal email.
2996
2997   SA RUIZ:       Okay. Okay. Okay. I need you to fill out the same thing. Fill out the top and
2998                  then sign it. And then Jonathan R-U-I-Z.
2999
3000   VIDAL:         Okay. This is the same?
3001
3002   SA RUIZ:       It’s the same form, yeah.
3003
3004   VIDAL:         23?
3005
3006   SA RUIZ        23. Now, they haven’t found the Samsung that they’re looking for, the S6.
3007                  They said they didn’t see it in the desk. Any other place it could be?
3008                  Otherwise we’ll just have you may be going there look for it then?
3009
3010   VIDAL:         I don’t know. Wait, it (unintelligible) cabinet?
3011
3012   SA RUIZ:       The - well, there’s an – isn’t there an S6, an old Samsung, and then you have
3013                  your new Samsung. Where’s the old - the S7 is the one they found that
3014                  must’ve fallen on the ground under the bed and then there’s the older phone
3015                  that you used with the first accounts you had mentioned, the Snapchat and Kik


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 87 of 129 Page ID #:329
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 68



3016                  accounts. That’s the phone we’re looking for to make sure that we don’t leave
3017                  it behind.
3018
3019   VIDAL:         The last time I’ve used it would’ve been a month or two. I’m not sure where I
3020                  put a. The last time I had it, it was in the desk and I used it and then I stopped
3021                  using it and then I don’t know where I put it. I don’t know if it could be in my
3022                  - because the only thing is I place I can think of is may closet, my bed...
3023
3024   SA RUIZ:       Like, just on the bed, or, like, in the bed? Because you said you were trying to
3025                  make sure no one found it. You said you had hidden it. May be in the bed?
3026
3027   VIDAL:         It could be in.
3028
3029   SA RUIZ:       Okay.
3030
3031   VIDAL:         Under, or in my backpack, in my closet, or in one of my drawers.
3032
3033   SA RUIZ:       Basically your whole room?
3034
3035   VIDAL:         Yeah, I don’t- Yeah.
3036
3037   SA RUIZ:       Okay. All right, I’ll let them know. If, for the time being, unless you have any
3038                  other questions I don’t have any other questions right now. I just have to make
3039                  a couple of phone calls. I have to talk to forensics and see what they found
3040                  and see if what we have is consistent. For the time being, you’re more than
3041                  welcome to sit out here. I don’t want to assume that going and there’s going to
3042                  be comfortable for you. It’s probably going to be a difficult situation I imagine
3043                  but your family seems like nice people. I’m sure they want what’s best for you
3044                  and so to the extent you want some time out here or you want to go inside, it’s
3045                  really up to you. You’re - before I forget, your vehicle - are you using the
3046                  Camry - do you drive the Camry or are you driving the Corolla?
3047
3048   SA RUIZ:       I’m driving the Camry but my brother uses it to go to work.
3049
3050   SA RUIZ:       Okay. So your brother uses it to go to work and then the Corolla is that what
3051                  you use when he’s got the Camry?
3052
3053   VIDAL:         No, my mom car to go to work.
3054
3055   SA RUIZ:       Okay. So you only drive the Camry?
3056
3057   VIDAL:         Yeah.
3058
3059   SA RUIZ:       Okay. So if you want to - if you want to sit tight out here, I understand that.
3060                  And I’ll come back out shortly but it’s really up to you, okay? Give me a


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       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 88 of 129 Page ID #:330
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 69



3061                  second. Excuse me. I’ll get somebody - I’ll get a second.
3062
3063   DET. RODRIGUEZ: No worries.
3064
3065   SA RUIZ:       Coming in. Hold on a second. Coming in. The time is approximately 8:30.
3066                  Terminating interview with Mr. Vidal.
3067
3068                               END OF RECORDING VN810011
3069
3070                               START OF RECORDING VN810012
3071
3072   SA RUIZ:       Ah, Jonathan Ruiz gonna re, um, approach Vidal with a couple questions. It’s
3073                  8:35 am.
3074
3075   Woman:         Now, if she comes, you know, did you call her?
3076
3077   SA RUIZ:       Do you have the two phones?
3078
3079   SA ROELFS:     Mm, yeah, Oh - ah...
3080
3081   SA KWAN:       There’s the one and.
3082
3083   SA ROELFS:     Yeah, this is...
3084
3085   SA RUIZ:       That’s the S7? And...
3086
3087   SA ROELFS:     Yeah.
3088
3089   SA RUIZ:       ...this is the Alcatel, okay.
3090
3091   SA KWAN:       Ah, the Alcatel is busted.
3092
3093   SA RUIZ:       It’s old, yeah. I - I need him to identify it.
3094
3095   SA KWAN:       Oh - oh, okay.
3096
3097   SA RUIZ:       So.
3098
3099   SA CAVENY:     Do you know if he happened to say anything about Mega?
3100
3101   SA RUIZ:       Yeah.
3102
3103   SA CAVENY:     Um, because if you want I can get a consent form paper.
3104
3105   SA RUIZ:       I have it.


                                                                                                 USA_000990
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 89 of 129 Page ID #:331
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 70



3106
3107   SA CAVENY:     Okay.
3108
3109   SA RUIZ:       Yeah.
3110
3111   SA ROELFS:     Yeah. Thanks.
3112
3113   SA RUIZ:       Oh, God, I’m gonna trip.
3114
3115   SA KWAN:       Hey Jonathan do you want to take a look at the stuff first, or?
3116
3117   SA RUIZ:       No, not yet, let me - let me, I’ll be right back. Ah, can somebody help me with
3118                  this, I can’t get this open.
3119
3120   SA KWAN:       Yeah, it’s just jammed?
3121
3122   SA RUIZ:       Ah. You might have to lift it. Yeah, um.
3123
3124   Man:           What’s in there?
3125
3126   SA RUIZ:       Ah. There we go. Thank you. I just wanna, ah, make sure we’re talking apples
3127                  to apples here, so well, they have this Alcatel, this is just an old phone. Okay.
3128                  This is the one we had talked about. Then there is the S7, this is your current
3129                  phone? Okay, the S7 was the one they found jammed under the bed. It wasn’t
3130                  like, it didn’t fall under the bed, I mean, it was in the planks. Was that done
3131                  this morning or?
3132
3133   VIDAL:         Mm. I don’t know, I slept with it. From...
3134
3135   SA RUIZ:       This was under the mattress, in between, now it maybe it fell after they lift it
3136                  up. I don’t know.
3137
3138   VIDAL:         Okay.
3139
3140   SA RUIZ:       But they said they found it in the - the - the wooden planks on the bed.
3141                  Underneath the mattress. Is there another phone? Besides, this, an older
3142                  Samsung?
3143
3144   VIDAL:         Um, ah.
3145
3146   SA RUIZ:       I mean, like an S6? Something that predates this S7?
3147
3148   VIDAL:         I do have one, but I don’t know where I could have put it. But I...
3149
3150   SA RUIZ:       Okay. Okay, this is the one, and that one you used about a month ago, you


                                                                                               USA_000991
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 90 of 129 Page ID #:332
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 71



3151                  said.
3152
3153   VIDAL:         Mm-hm.
3154
3155   SA RUIZ:       Is that, correct?
3156
3157   VIDAL:         Yeah.
3158
3159   SA RUIZ:       Okay. Okay. The, let me just put this here. The one thing I wanted to - I
3160                  wanted to talk about your Mega. Do you have - they say you have, there is a
3161                  Mega account.
3162
3163   VIDAL:         Mm-hm.
3164
3165   SA RUIZ:       Okay, that would be one we’re interested in taking over as well, if it has
3166                  contraband on it. But I noticed it’s not on here.
3167
3168   VIDAL:         Mm-hm.
3169
3170   SA RUIZ:       Is that one you’re willing?
3171
3172   VIDAL:         Oh, yes - yes, ah, but the problem is that, I don’t know the - the username, but
3173                  I think that I would...
3174
3175   SA RUIZ:       It - it would be an em- it would be an email address.
3176
3177   VIDAL:         Yes.
3178
3179   SA RUIZ:       So, ah, okay.
3180
3181   VIDAL:         Ah.
3182
3183   SA RUIZ:       If that’s one you’re willing to - to turn over, then I’ll have you add it.
3184
3185   VIDAL:         Sure.
3186
3187   SA RUIZ:       Um.
3188
3189   VIDAL:         Um, and I’m - I’m not sure which email it’s associated with.
3190
3191   SA RUIZ:       If it’s your Mega account, then you can, you’re the one who can, um, ah - ah,
3192                  consent to us taking it over.
3193
3194   VIDAL:         Yeah.
3195


                                                                                                USA_000992
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 91 of 129 Page ID #:333
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 72



3196   SA RUIZ:       So, if - if - if you wanna put both emails down, you can do that. If you know
3197                  the password, um, it - it’s up to you. You know, you can put ‘em both if you
3198                  want to - to be thorough about it, I’ve had them do that. I can’t - I can’t
3199                  remember if it’s my top email, my bottom email, but whatever it is, you can
3200                  have it and they’ll list both emails. So, in this case, you would put Mega, and
3201                  then the email you think it is associated with, the password. If you think it
3202                  might be another account, go ahead and put Mega again. And the email
3203                  address or the other email address you think it might be associated with. And
3204                  we can - we can go that route.
3205
3206   VIDAL:         And I’m, ah, I’m not 100% sure of the, um, the Mega is the same password,
3207                  but I’m just listing it in case.
3208
3209   SA RUIZ:       If - if it’s associated with that email address. Those are email addresses, you
3210                  have allowed us to take us over as well, right?
3211
3212   VIDAL:         Mm-hm.
3213
3214   SA RUIZ:       So, we could - we could do a password recovery. Is that - is that, okay?
3215
3216   VIDAL:         Yeah.
3217
3218   SA RUIZ:       We can say, hey, forgot email. Send it or forgot password, send it to, ah, to my
3219                  email and do that, is that okay?
3220
3221   VIDAL:         Yeah. Yes.
3222
3223   SA RUIZ:       Okay.
3224
3225   VIDAL:         But like, again, I don’t know what email account. I’m not sure if it’s one of
3226                  these two, I don’t think I’ve used the JOSUE_VIDAL.
3227
3228   SA RUIZ:       Okay. So, if you think it’s one of those two, then if you’re comfortable with it,
3229                  list both emails.
3230
3231   VIDAL:         Okay.
3232
3233   SA RUIZ:       Um, just so that we’re clear.
3234
3235   VIDAL:         And this is a 9.
3236
3237   SA RUIZ:       Okay.
3238
3239   VIDAL:         Um. And I don’t know the password to that one.
3240


                                                                                               USA_000993
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 92 of 129 Page ID #:334
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 73



3241   SA RUIZ:       It could be the - the, oth- the - the little pattern one as - as above is what
3242                  you’re saying?
3243
3244   VIDAL:         Yeah.
3245
3246   SA RUIZ:       Okay. Okay. Okay, let me get this back and then, I think that’s it. Okay, sorry
3247                  well, give me one second Gorden. I’m. Oh, this things coming off, that’s why.
3248                  It’s off the track. Um, approximately 8:39 terminating interview.
3249                                END OF RECORDING VN810012
3250
3251
3252                              START OF RECORDING VN810013
3253   SA RUIZ:       Let’s see, time is...
3254
3255   GS BURDETT:    What do you need sir?
3256
3257   SA RUIZ:       Oh, nothing. Not from you, yet. 9:47. Re-approaching interview with Vidal.
3258                  Thank you guys. Um, sorry, thank you for patient. I just - I just wanted to be
3259                  on the phone and I want to make sure that - that what we have is compare
3260                  apples to apples. I don’t wanna mischaracterize anything, we talked about a
3261                  couple of the accounts. I was able to log into one of ‘em, which is a Snapchat
3262                  account. This is a Snapchat account, EPIC.JOSUA2020. Mm-kay. Now, I
3263                  don’t want to, when I talk to the U.S. Attorney, or - or whoever, I don’t wanna
3264                  take what’s - I don’t wanna take anything out of context, okay. So, as I go
3265                  through this app, which - which ones are you referring to, that are of the
3266                  minors that you communicated with? You can....
3267
3268   VIDAL:         Mm, like, basically most of the girls.
3269
3270   SA RUIZ:       Okay, so most of the ones here?
3271
3272   VIDAL:         Yeah, so,
3273
3274   SA RUIZ:       Now-
3275
3276   VIDAL:         So, now, I’m sorry, to interrupt but some of them I’ve never contacted. I just...
3277
3278   SA RUIZ:       Okay.
3279
3280   VIDAL:         ...add them from quick add.
3281
3282   SA RUIZ:       Okay.
3283
3284   VIDAL:         But I’ve never contacted them before.
3285


                                                                                                 USA_000994
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 93 of 129 Page ID #:335
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 74



3286   SA RUIZ:       Okay.
3287
3288   VIDAL:         So, some of them I have and some of them I haven’t. So.
3289
3290   SA RUIZ:       Which - which are the ones, like, I said. There’s a - there’s a lot here. And I
3291                  don’t wanna pick one that’s, you know, gonna, ah, like, when you’re referring
3292                  to having recorded, ah, a picture of a minor, which one - which one was it,
3293                  that you’re referring to?
3294
3295   VIDAL:         Um, I think for a second, her.
3296
3297   SA RUIZ:       Okay, so you, Grace, okay. So, as I go through, I know it’s - it’s gonna take a
3298                  little while to - to load some of this stuff. But I don’t necessarily see, unless I
3299                  go into your - your phone, specifically, these attachments, are these saved
3300                  anywhere? Or are they just an app?
3301
3302   VIDAL:         What - what do you mean?
3303
3304   SA RUIZ:       Like, ah, when - when they’re talking about the videos and images you guys
3305                  send back and forth, is it - is it only live, or are you sending images?
3306
3307   VIDAL:         Live.
3308
3309   SA RUIZ:       Okay. So, like, Grace        , do you know how old she is? Was she the 11-
3310                  year-old?
3311
3312   VIDAL:         Mm-hm. She’s 12.
3313
3314   SA RUIZ:       She’s 12, okay. So, Grace is 12 like, everything is live with her?
3315
3316   VIDAL:         I’m sorry, ah, I think yeah, I think - I think she might be 12, I’m - I’m not
3317                  100% sure.
3318
3319   SA RUIZ:       Okay.
3320
3321   VIDAL:         She said she was like, 14 or 15.
3322
3323   SA RUIZ:       Ah, okay.
3324
3325   VIDAL:         But I think she’s 12.
3326
3327   SA RUIZ:       Okay. ‘Cause she...
3328
3329   VIDAL:         Because that was...
3330


                                                                                                USA_000995
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 94 of 129 Page ID #:336
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 75



3331   SA RUIZ:       ...did she tell you that later on? She like her - her okay.
3332
3333   VIDAL:         Mm-mm, I just heard it from someone else. I mean, um, so, when I was
3334                  trading names with someone else, um, I got her account.
3335
3336   SA RUIZ:       Okay.
3337
3338   VIDAL:         That’s where I - I had her.
3339
3340   SA RUIZ:       So, someone sent you a link of her and then you found her on Snapchat?
3341
3342   VIDAL:         Mm-hm.
3343
3344   SA RUIZ:       Okay, and they said she’s actually 12? Okay. Any - any others that there’s -
3345                  there’s content saved? Like, in the chat?
3346
3347   VIDAL:         Oops, sorry about that.
3348
3349   SA RUIZ:       Ah, take your time.
3350
3351   VIDAL:         Like a lot of them are, and see, I never contacted them. Um. Um, I don’t know
3352                  if some of them I have contacted before and I sent.
3353
3354   SA RUIZ:       Mm-hm.
3355
3356   VIDAL:         But some of them I had - I had conversations, but never sent.
3357
3358   SA RUIZ:       Okay.
3359
3360   VIDAL:         Um - um, Jessica, I think...
3361
3362   SA RUIZ:       Jessica , was that        ?
3363
3364   VIDAL:         Yeah.
3365
3366   SA RUIZ:       Okay.
3367
3368   VIDAL:         I think this was from a long time before.
3369
3370   SA RUIZ:       From a long time ago?
3371
3372   VIDAL:         But, um, yeah, this was around and the date was kind a there.
3373
3374   SA RUIZ:       Yeah, it says the 27th, you deleted a chat. And that was one of the older ones.
3375                  I don’t see...


                                                                                                USA_000996
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 95 of 129 Page ID #:337
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 76



3376
3377   VIDAL:         Yeah.
3378
3379   SA RUIZ:       ...if I go to her, it looks like her accounts been deleted.
3380
3381   VIDAL:         Yeah, okay.
3382
3383   SA RUIZ:       Um, like, you know, it - it’s not in there, and like I said, I mean, all...
3384
3385   VIDAL:         Uh-huh.
3386
3387   SA RUIZ:       ...of these appear to be, you know, young girls. But like, I - I don’t wanna say
3388                  hey, look at all these, you know, he’s talking to all of these girls. When some
3389                  of ‘em aren’t that.
3390
3391   VIDAL:         Mm-hm.
3392
3393   SA RUIZ:       Um, and so, when they ask me okay, well what kind of material is he trading
3394                  or - or distributing back and forth that isn’t live that we can get an idea of
3395                  what it is, um, it does- I don’t know, ah, what - what to really show them.
3396                  Other than, you know, what you’ve dis- or tell them than other...
3397
3398   VIDAL:         Mm-hm.
3399
3400   SA RUIZ:       ...than what you’ve described. So, like, do you, you know, can see if anything
3401                  is in memories.
3402
3403   VIDAL:         Mm-hm.
3404
3405   SA RUIZ:       But, um, we have just your - like your - your videos. But I mean, let’s get out
3406                  of the glare. You can go ahead and turn around this way. Any boys?
3407
3408   VIDAL:         No.
3409
3410   SA RUIZ:       Okay. So, do you ever pose as somebody else?
3411
3412   VIDAL:         No, this is me.
3413
3414   SA RUIZ:       Okay. So, these, are these the videos you’re sending out to people?
3415
3416   VIDAL:         Yeah.
3417
3418   SA RUIZ:       Okay. And oh, let’s see okay, and, ah, these are the ones that you’re referring
3419                  to having sent to the, one, um, recently, the 11-year-old? What was her name?
3420


                                                                                                 USA_000997
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 96 of 129 Page ID #:338
                                                                            INTERVIEW WITH JOSUE VIDAL
                                                                                    Case # RV07QR20RV0014
                                                             Audio Recordings VN810011, VN810012, VN810013
                                                                                                    Page 77



3421   VIDAL:         Um, I think it was Grace.
3422
3423   SA RUIZ:       Grace? Okay.
3424
3425   VIDAL:         Um, but only sharing with her like, a few photos.
3426
3427   SA RUIZ:       Okay.
3428
3429   VIDAL:         Um, things like, two, three, four, five times that I sent. I don’t know.
3430
3431   SA RUIZ:       Okay. Okay. Okay, um, the authenticate, ‘cause I’m trying to make sure that
3432                  the - the app that you have to get into Mega, is, it’s using an authenticator app.
3433
3434   VIDAL:         Mm-hm.
3435
3436   SA RUIZ:       Do you ever use, do you know what it’s talking about?
3437
3438   VIDAL:         No. No, I don’t know how to use it.
3439
3440   SA RUIZ:       Like, when you try to log into Mega and then Mega says, hey we need a code.
3441                  Does one get text messaged to you, or does one do you...
3442
3443   VIDAL:         Um.
3444
3445   SA RUIZ:       ...have to go to another app to make it happen, or?
3446
3447   VIDAL:         I’m not sure, because all I did was sign up with an email. Um, but it since I
3448                  didn’t know how to use it, like very much, I stopped using that.
3449
3450   SA RUIZ:       Okay.
3451
3452   VIDAL:         So, um, the, I heard about the authentic he - the authentication key, but I don’t
3453                  know how that one works.
3454
3455   SA RUIZ:       Okay. Okay. And the, before I move on, um, and I think we’ll be done. Um,
3456                  the Instagram?
3457
3458   VIDAL:         Mm-hm.
3459
3460   SA RUIZ:       Let me see if we can, the internet out here is pretty slow for us. So. It’s been
3461                  so long since I’ve used it, I can’t even figure out how to log out. Yeah, it’s
3462                  starting to heat up isn’t it. Okay. Did you sign over Instagram?
3463
3464   VIDAL:         I’m sorry?
3465


                                                                                                 USA_000998
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 97 of 129 Page ID #:339
                                                                             INTERVIEW WITH JOSUE VIDAL
                                                                                     Case # RV07QR20RV0014
                                                              Audio Recordings VN810011, VN810012, VN810013
                                                                                                     Page 78



3466   SA RUIZ:       Was that - was that one you were willing to...
3467
3468   VIDAL:         Oh, yeah.
3469
3470   SA RUIZ:       ...give to us? Okay. Got it.
3471
3472   VIDAL:         Sorry.
3473
3474   SA RUIZ:       No, don’t no, I appreciate it. Before I - I go in I wanna make sure that, I have
3475                  it. Okay. You can add it to this one.
3476
3477   VIDAL:         Okay.
3478
3479   SA RUIZ:       And then just initial next to it.
3480
3481   VIDAL:         Oh. I’m not sure about the user, but I think the email is this one changed,
3482                  yeah.
3483
3484   SA RUIZ:       For Instagram?
3485
3486   VIDAL:         Yeah.
3487
3488   SA RUIZ:       Not the, okay.
3489
3490   VIDAL:         Um, ah, I’m trying to remember the user name.
3491
3492   SA RUIZ:       Well, the emails fine.
3493
3494   VIDAL:         Okay.
3495
3496   Man:           Sounds like a good one.
3497
3498   SA RUIZ:       The the same password, it looks like?
3499
3500   VIDAL:         Yes.
3501
3502   SA RUIZ:       Okay.
3503
3504   VIDAL:         Oh, sorry.
3505
3506   SA RUIZ:       Let me see. So, it’s the JAY G-E-E-V-E-E-Q@g, oh,          . Okay. I was trying
3507                  to figure that. And you said, you’re not sure about the password?
3508
3509   VIDAL:         Um, the email. I wasn’t too sure about the email.
3510


                                                                                                USA_000999
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 98 of 129 Page ID #:340
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 79



3511   SA RUIZ:       Okay, the email works. Let’s see, maybe I typed in the password wrong. Q-A-
3512                  Z-W-S-X-E-D-C-1-2-3, sound, right?
3513
3514   VIDAL:         Mmm.
3515
3516   SA RUIZ:       Okay. Ah. So, the girl you’re referring to, is it Naomi, is it the most recent?
3517
3518   VIDAL:         I’m sorry?
3519
3520   SA RUIZ:       The girl you’re referring to on - on Insta, that you...
3521
3522   VIDAL:         Mm-hm.
3523
3524   SA RUIZ:       ...talked to, ah, that you sent, I think you said last night?
3525
3526   VIDAL:         Um, no, it was, ah, I think it’s - had her name Marcie or something.
3527
3528   SA RUIZ:       Okay.
3529
3530   VIDAL:         I don’t remember. It had the word Marcie in it. Or Mercy or...
3531
3532   SA RUIZ:       Marcie D          ?
3533
3534   VIDAL:         Ah. No.
3535
3536   SA RUIZ:       That’s Marc D          ?
3537
3538   VIDAL:         Um, how about M            ? Username but I think it had an M on it.
3539
3540   SA RUIZ:       Okay. Any of these? Okay.
3541
3542   VIDAL:         Yeah, I don’t remember.
3543
3544   SA RUIZ:       It makes sense.
3545
3546   VIDAL:         Ah.
3547
3548   SA RUIZ:       There’s Marley, ah, those are people. See, I don’t use Instagram very much,
3549                  but here’s your - Mari?
3550
3551   VIDAL:         Ewe.
3552
3553   SA RUIZ:       White girl?
3554
3555   VIDAL:         Yeah!


                                                                                                 USA_001000
       Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 99 of 129 Page ID #:341
                                                                              INTERVIEW WITH JOSUE VIDAL
                                                                                      Case # RV07QR20RV0014
                                                               Audio Recordings VN810011, VN810012, VN810013
                                                                                                      Page 80



3556
3557   SA RUIZ:       Okay.
3558
3559   VIDAL:         That’s the one.
3560
3561   SA RUIZ:       Okay, so here are the - here are the video chats you’re referring to?
3562
3563   VIDAL:         Uh-huh.
3564
3565   SA RUIZ:       Okay. But yeah, it’s, nothing - nothing saved?
3566
3567   VIDAL:         No.
3568
3569   SA RUIZ:       Okay. And how old did she tell you she was?
3570
3571   VIDAL:         I believe 11.
3572
3573   SA RUIZ:       Okay. Does 13, sound right?
3574
3575   VIDAL:         Ah, I’m sorry?
3576
3577   SA RUIZ:       So, oh, that’s how you’re telling her?
3578
3579   VIDAL:         Yeah.
3580
3581   SA RUIZ:       I’m sorry. Okay. Do you usually just pose as a - as a minor?
3582
3583   VIDAL:         Mm-hm.
3584
3585   SA RUIZ:       Okay. Okay. Okay. Okay, um, ah, turn this on. Let me see, it doesn’t look like
3586                  any conversations are saved in here. Sorry. And I’m sorry, that - that’s the
3587                  one, did you say you sent her a vid- a video last night?
3588
3589   VIDAL:         No, I just wrote...
3590
3591   SA RUIZ:       Or that’s the one you a live...
3592
3593   VIDAL:         ...a live.
3594
3595   SA RUIZ:       ...okay, last night. But she didn’t show you anything? Okay. That’ - that’s
3596                  right. Oh, I fucking sweating my butt of out there.. Coming in. Okay,
3597                  terminating reapproach.
3598
3599                               START OF RECORDING VN810013



                                                                                                 USA_001001
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 100 of 129 Page ID #:342




                  EXHIBIT B
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 101 of 129 Page ID #:343
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 AprilBlonde (April)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 102 of 129 Page ID #:344




                  EXHIBIT C
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 103 of 129 Page ID #:345
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 BalletGirl2
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 104 of 129 Page ID #:346




                  EXHIBIT D
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 105 of 129 Page ID #:347
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:    20-CR-192-JGB-1           Request Date:      01/11/2022
 Mt_Lime
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 106 of 129 Page ID #:348




                  EXHIBIT E
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 107 of 129 Page ID #:349
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 Sweet White Sugar (Pia)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 108 of 129 Page ID #:350
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 Sweet White Sugar (Pia)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 109 of 129 Page ID #:351
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 Sweet White Sugar (Pia)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 110 of 129 Page ID #:352
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 Sweet White Sugar (Pia)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 111 of 129 Page ID #:353
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:      20-CR-192-JGB-1         Request Date:      01/11/2022
 Sweet White Sugar (Pia)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 112 of 129 Page ID #:354




                  EXHIBIT F
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 113 of 129 Page ID #:355
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 114 of 129 Page ID #:356
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 115 of 129 Page ID #:357
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 116 of 129 Page ID #:358
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 117 of 129 Page ID #:359
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 118 of 129 Page ID #:360
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 119 of 129 Page ID #:361
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 120 of 129 Page ID #:362
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 121 of 129 Page ID #:363
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 122 of 129 Page ID #:364
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 123 of 129 Page ID #:365
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 124 of 129 Page ID #:366
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 125 of 129 Page ID #:367
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 126 of 129 Page ID #:368
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 127 of 129 Page ID #:369
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 128 of 129 Page ID #:370
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
Case 5:20-cr-00192-JGB Document 41 Filed 02/13/23 Page 129 of 129 Page ID #:371
 Case Name: JOSUE GAMALIEL VIDAL       Conviction Date:   10/04/2021
 QUINTANILLA

 Docket#:       20-CR-192-JGB-1        Request Date:      01/11/2022
 Vicky (Lily)
